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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


In re:                                                  Chapter 11

NEIMAN MARCUS GROUP LTD LLC, et al.1                    Case No. 20-32519 (DRJ)

                               Debtors.                 Jointly Administered



      PRELIMINARY REPORT OF THE OFFICIAL COMMITTEE OF UNSECURED
    CREDITORS REGARDING THE BANKRUPTCY ESTATES’ LITIGATION CLAIMS
       AGAINST NEIMAN MARCUS GROUP, INC., THE EQUITY SPONSORS AND
       DIRECTORS OF NEIMAN MARCUS GROUP, INC., AND OTHER PARTIES




1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530);
Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa
Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding
Corporation (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM
Financial Services, Inc. (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG
Florida Salon LLC (9269); NMG Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG
Salon Holdings LLC (5236); NMG Salons LLC (1570); NMG Term Loan PropCo LLC (0786); NMG
Texas Salon LLC (0318); NMGP, LLC (1558); The Neiman Marcus Group LLC (9509); The NMG
Subsidiary LLC (6074); and Worth Avenue Leasing Company (5996). The Debtors’ service address is:
One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
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        The Official Committee of Unsecured Creditors (the “Committee”) appointed in the

chapter 11 cases of the above-captioned debtors and debtors in possession (the “Debtors”)

submits this Preliminary Report of the Official Committee of Unsecured Creditors Regarding the

Bankruptcy Estates’ Litigation Claims Against Neiman Marcus Group, Inc., the Equity Sponsors

and Directors of Neiman Marcus Group, Inc., and Other Parties (this “Report”).

                                      I.   INTRODUCTION

        In September 2018, non-Debtor Neiman Marcus Group, Inc. (“NMG Parent”) – acting at

the behest of its controlling equity interest holders (collectively, the “Sponsors”), i.e., Ares

Management, L.P. and Canada Pension Plan Investment Board2 – pilfered at least hundreds of

millions of dollars of value from the Debtors via a gratuitous equity distribution designed for the

express purpose of “moving certain assets with strategic value ... outside of the loan party group”

in order to “maximize the long-term value ... for the Sponsors.”3 There is no doubt that the plan

to siphon value from the Debtors, and transfer assets outside the reach of their creditors, was

directed by the Sponsors. As stated by the Debtors in numerous SEC filings:

           We are controlled by the Sponsors, whose interests as equity holders may
           conflict with those of the lenders under our Senior Secured Credit Facilities
           and the holders of the Notes.4

        The asset grab involved MyTheresa, a luxury retailer the Debtors acquired in 2014.

MyTheresa was the Debtors’ “saving grace” (in CPPIB’s own words)5 but that did not give the

Sponsors a moment’s pause in forcing the Debtors to hand over MyTheresa, for no consideration.

2
   The Sponsors are: (i) Ares Corporate Opportunities Fund III, L.P., Ares Corporate Opportunities Fund
IV, L.P., ACOF Mariposa Holdings LLC, and certain of their affiliates that directly or indirectly hold or
control equity interests in the Debtors (collectively, “Ares”), and (ii) CPP Investment Board (USRE) Inc.
and certain of its affiliates that directly or indirectly hold or control equity interests in the Debtors
(collectively, “CPPIB”).
3
   ARES_0003465 and ARES_0003468.
4
   Neiman Marcus Group LTD LLC Form 10-K for FYE July 28, 2018, retrieved from http://neiman.gcs-
web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 29 (emphasis in original).

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scheme – Lazard Frères & Co. LLC (“Lazard”) – prepared valuation materials reflecting a

negative equity value for the Debtors (excluding MyTheresa) as of early 2017.16

        The Sponsors apparently could not resist the temptation to try to salvage their distressed

investment by appropriating the valuable MyTheresa Asset (as defined below) for themselves.

While the transfer of the MyTheresa Asset ultimately was structured as a distribution from the

Debtors to NMG Parent (the “Distribution”), the Sponsors’ true intentions were set forth in an

October 30, 2017 email from Ares to Lazard, in which Ares stated, “... There’s obviously

sensitivity because we’re confidentially still trying to dividend out MT but the company is

unaware.”17

        The Sponsors knew that the transfer of the MyTheresa Asset out of the Debtors’

ownership, whether to NMG Parent or to the Sponsors themselves, would implicate fraudulent

transfer, fiduciary duty and illegal distribution concerns. In Lazard’s initial presentation to the

Sponsors in January 2017 – which described various “available transactions that would

enhance long-term shareholder value by moving certain assets with strategic value, such as

the MyTheresa business, outside of the loan party group” including, among other things, a

dividend of the MyTheresa Asset – Lazard provided the Sponsors with numerous reminders of

the liability risks, including the following (as just a few examples):


16
    LazardNMG 0003229-3243 at LazardNMG 0003234 (Illustrative Summary Nancy Standalone
Valuation). The “Illustrative Summary Nancy Standalone Valuation” is a document produced by Lazard
from its files related to the Debtors. Lazard acknowledges that this illustrative valuation of the Debtors
(excluding MyTheresa) was prepared by Lazard and that it reflects that it is sourced from company
projections, company filings and Factset as of March 20, 2017. Lazard, however, claims that the
illustrative valuation is merely a draft, presents an “unsophisticated view on value,” is “overly simplistic”
and that it does not “think any conclusions can be made from whatever this is.” See 07/13/20 T. Cowan
Dep. Tr. at 142:5-145:21. See also 07/13/20 D. Kaplan Dep. Tr. at 58:16-19, 61:2-65:22 (Nancy was
code name for Neiman Marcus Group; referring to the document as an “illustrative, summary Nancy
stand-alone valuation” and a “working draft document” which admittedly indicated negative numbers).
17
    ARES_0012869 (emphasis added).

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                “... any transaction that removes material value (especially those with upside,
                 such as the MyTheresa business) from the existing loan party group could attract
                 potential litigation, particularly if the Sponsors are perceived to benefit”

                Noting, specifically in connection with the proposed dividend of MyTheresa, the
                 “[f]raudulent conveyance/fiduciary duty considerations”

                Noting, again in connection with a dividend of MyTheresa, “[m]ust be sensitive to
                 fraudulent transfer, fiduciary duty, and applicable corporate law considerations on
                 a by-entity basis”

                “The Company must also be mindful of its officers’ and directors’ fiduciary duty
                 obligations, as certain transactions may implicate such duties even if technically
                 permissible under the Company’s debt documents and allowable from a
                 fraudulent conveyance perspective”18

         Nonetheless, the Sponsors decided to move forward with the Distribution of the

MyTheresa Asset from the Debtors to NMG Parent for no consideration. The Sponsors’ plan for

the MyTheresa Asset was formally presented to the board of NMG Parent in March 2017, and

was described in the meeting minutes as follows: “[t]he transaction would take the legal form of

(i) designating Lux I as ‘unrestricted’ under indentures and (ii) a series of dividends from NMG

International, Inc., the current direct parent of Lux I, up to Parent.”19 Lux I (as defined below)

was the Luxembourg company that, with its subsidiaries, owned and operated the MyTheresa

business. As reflected on the organizational chart attached as Exhibit A, Lux I was held in the

Debtors’ corporate structure as an indirect subsidiary of Debtor The Neiman Marcus Group LLC.

         The designation of Lux I and its subsidiaries as “unrestricted” subsidiaries was a

necessary first step in the Sponsors’ plan, in order to attempt to avoid dividend-related

restrictions imposed on “restricted” subsidiaries under the indentures governing the Debtors’

unsecured notes. While only the designation was submitted for approval to (and approved by)

18
     ARES_0003465-3520 (emphasis added).
19
     NMDEBTORS00045532.

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the board of NMG Parent in March 2017, the Distribution of the MyTheresa Asset from NMG

International, through various Debtors, to NMG Parent was described (as set forth above) and

diagrammed in the accompanying board materials in exactly the same manner in which the

Distribution ultimately was approved by the board of NMG Parent more than 1½ years later, on

September 14, 2018.20

        In September 2018, the board of directors of NMG Parent consisted of ten directors

(collectively, the “Directors”), all of whom were selected by the Sponsors. Three of the directors

were designated solely by Ares, including its co-founder, David B. Kaplan, three of the directors

were designated solely by CPPIB, three of the directors were jointly designated by both

Sponsors, and the final director – the CEO of NMG Parent – was (as an officer) selected by the

board. NMG Parent was the only entity involved in the Distribution that had a “traditional” board

of directors. Each Debtor involved in the Distribution was a single-member, member-managed

limited liability company organized under Delaware law.21 As reflected on the attached

organizational chart (Exhibit A), the sole member (and manager) of each of those Debtors was

another entity, not a “traditional” board of directors. In other words, the individual members of

NMG Parent’s board were the only natural persons charged with exercising the fiduciary duties

owed, under Delaware law and pursuant to the Debtors’ operating agreements, by the managers

of the Debtors. Nonetheless, the Committee has not seen any evidence indicating that the

Directors gave any consideration to the duties they owed to the Debtors based on their control

over the Debtors or the harm they were inflicting on the Debtors by approving the distribution of

20
   Compare NMDEBTORS00040439 (materials for March 8, 2017 board meeting) and
NMDEBTORS00016060 (materials for September 14, 2018 board meeting).
21
   The MyTheresa Asset initially was held by non-Debtor NMG International LLC, and then passed
through three Debtors – The Neiman Marcus Group LLC, Neiman Marcus Group LTD LLC and
Mariposa Intermediate Holdings LLC – on its way to NMG Parent.

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the MyTheresa Asset. Instead, the meeting minutes reflect that the key considerations were (i)

how to advance the Sponsors’ interests, and (ii) how to try to insulate the Sponsors, NMG Parent

and the Directors from liability.

        As set forth above, the Distribution was approved by NMG Parent’s board on September

14, 2018. The MyTheresa Asset was distributed to NMG Parent that same day, pursuant to

various written consents. The transfer to NMG Parent is reflected in the post-Distribution

organizational chart attached hereto as Exhibit B. Subsequently, and as reflected in the

organizational chart attached hereto as Exhibit C, NMG Parent formed a series of new non-Debtor

subsidiaries to hold the MyTheresa Asset (collectively, the “MYT Entities”).22

        While the Sponsors were implementing their plan for the MyTheresa Asset, they also

were engaged in discussions with the Debtors’ secured and unsecured lenders regarding a

possible restructuring of the Debtors’ debt. Throughout those discussions, and in recognition of

the litigation risk arising out of the Distribution, a constant feature of the Sponsors’ restructuring

proposals was the condition that “[a]ll participating creditors would consent” to the distribution

of the MyTheresa Asset.23 The 2017-2018 restructuring negotiations fell apart in late 2018

because, among other reasons, the Debtors’ lenders remained opposed to the Distribution.

        Approximately six months later, in or around March 2019, the Debtors, NMG Parent, the

Sponsors, more than 99% of the Debtors’ term loan lenders and approximately 91.5% of the

Debtors’ unsecured noteholders agreed upon the principal terms of a new restructuring proposal.

Unlike the previous discussions in 2017 and 2018, the new restructuring proposal required NMG

Parent (and thus, the Sponsors) to forfeit a portion of any value realized from the MyTheresa

22
   The MYT Entities are MYT Parent, MYT Holding Co. (“MYT Holding”), MYT Intermediate Holding
Co. (“MYT Intermediate”) and MYT Netherlands Parent B.V. (“DutchCo”).
23
   ARES_0002810.

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Asset. In particular, the Transaction Support Agreement (“TSA”) entered into in connection with

the Recapitalization (as defined below) requires that any net available proceeds from the

MyTheresa Asset flow in accordance with a waterfall (the “MYT Waterfall”) as follows: the

first $200 million of value is allocated to the holders of new 2L notes in respect of a limited

guarantee issued by certain of the MYT Entities; the next $250 million of value (plus accrued

dividends at 10% per annum) is allocated to the holders of Series A preferred stock in MYT

Holding (i.e., former unsecured noteholders that participated in the Recapitalization, who also

are the holders of new 3L notes); the next $250 million (plus accrued dividends at 10% per

annum) of value is allocated to the holder of Series B preferred stock in MYT Holding (MYT

Parent, owned by NMG Parent); and the remaining value is to be split equally between the

holders of new 3L notes (i.e., former unsecured noteholders), via a pledge of common stock of

MYT Holding, and MYT Parent.24

        As set forth in the Shaked Report, the MyTheresa Asset was worth $822 million as of

September 14, 2018, when it was transferred to NMG Parent.25 The MyTheresa Asset continued

to appreciate in value, to $976 million as of May 7, 2020 (the “Petition Date”).26 Dr. Shaked

further has determined that the value of the MyTheresa Asset as of September 1, 2020 is $925

million.27 As discussed herein, the MyTheresa Asset (or its value) can and should be recovered

for the benefit of the Debtors and their bankruptcy estates (collectively, the “Estates”). The

transfer of the MyTheresa Asset to NMG Parent (and later, to the MYT Entities), for the benefit

24
   As discussed further below, the TSA also purported to release NMG Parent, the Sponsors and the
Directors from all liability to the Debtors in connection with the distribution of the MyTheresa Asset. As
to avoidance claims, any purported prepetition release is not binding on the Estates. As to the remaining
claims discussed herein, the purported releases themselves are avoidable as fraudulent transfers.
25
   Shaked Report at pg. 5.
26
   Id.
27
   Id.

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of NMG Parent and the Sponsors, gives rise to, among other things, constructive and actual

fraudulent transfer claims against NMG Parent, the MYT Entities and the Sponsors, an illegal

distribution claim against NMG Parent, and claims for breach of fiduciary duty or aiding and

abetting breach of fiduciary duty against NMG Parent, the Sponsors, and the Directors.

        With respect to the fraudulent transfer claims, there is no legitimate dispute regarding the

lack of reasonably equivalent value to the Debtors.28 The distribution of the MyTheresa Asset

was an equity distribution to NMG Parent, with nothing of value provided to the Debtors in

exchange for the distribution. Tellingly, the Debtors have conceded that the MyTheresa-related

transactions give rise to liability (i) if the Debtors were insolvent at the time of the distribution,

and (ii) if recoveries on the Estates’ litigation claims would benefit the Debtors’ unsecured

creditors. See Docket No. 960 at ¶ 5 (objection filed by Debtors stating: “The Debtors believe

that the issues are narrow and largely turn on solvency and the extent to which any recoveries on

litigation claims would benefit unsecured creditors. If the relevant Debtors were insolvent at the

time of the MyTheresa distribution, the distribution was a constructive fraudulent transfer and

the analysis turns to the impact of that finding on unsecured creditor recoveries.”). There is no

doubt that both of those conditions are met in this case.

        Dr. Shaked, a preeminent and highly respected expert with 42 years of experience in

business valuation, corporate finance and related fields, and a Professor of Finance and

Economics at Boston University Questrom School of Business in Boston, Massachusetts who

has taught courses at the doctoral and graduate (as well as undergraduate) levels, has evaluated




28
   For purposes of brevity in the Introduction section of this Report, the Committee has focused on the
Estates’ fraudulent transfer claims. If those claims are successful, the remaining claims, while equally
meritorious, likely would not meaningfully increase the actual damages recoverable by the Estates.

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the Debtors’ solvency at various relevant times. As set forth in the Shaked Report, Dr. Shaked

has concluded, among other things, that:

                The Debtors were insolvent both before and after the distribution of the
                 MyTheresa Asset to NMG Parent, and remained insolvent after the distribution.
                The Debtors had an equity value of negative $1.198 billion in March 2017, an
                 equity value of negative $785 million in September 2018 prior to the distribution,
                 and an equity value of negative $1.608 billion in September 2018 after the
                 distribution.
                The Debtors remained insolvent through the Petition Date.29

         In stark contrast to Dr. Shaked’s qualified, in-depth and reasoned analysis, the valuations

that NMG Parent, the Sponsors and the Directors used to “support” the Directors’ decision to

approve the September 14, 2018 Distribution – a decision that, in reality, had been made by the

Sponsors more than 1½ years earlier – were performed by Adam M. Orvos (“Orvos”), then-CFO

of NMG Parent. Orvos has admitted that he is not a valuation expert, and further testified at his

deposition that he has never been qualified as a valuation expert, has never submitted a valuation

report to any court, has never testified in court or at a deposition regarding the valuation of an

enterprise, has never written any articles on enterprise valuation, and has never written – or even

read – any books on enterprise valuation.30

         The Committee’s investigation has finally revealed the answer to the question of why

NMG Parent and the Sponsors would select an unqualified CFO to perform the relevant

valuations: on July 10, 2020, Dennis T. Gies (an Ares designee to NMG Parent’s board) testified

that, in light of the Debtors’ debt burden and upcoming maturities, the Sponsors knew that no

outside financial advisor would opine that the Debtors were solvent at the time of the

29
     Shaked Report at pgs. 5, 7.
30
     07/02/20 Orvos Dep. Tr. at 45:6-46:13.

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Distribution.31 That testimony is confirmed by contemporaneous internal valuations prepared by

both Sponsors.

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                                   33



        Dr. Shaked has identified numerous errors in Orvos’ valuation memoranda, including the

following: (i) Orvos relied heavily on a September 6, 2018 report prepared by Duff & Phelps,

LLC (“Duff & Phelps”) regarding the value of the Debtors’ assets as of April 30, 2018, which

Duff & Phelps itself explicitly stated could not be used as a solvency opinion; (ii) the Duff &

Phelps valuation was severely overstated because it relied on management projections that were

unreasonably and overly optimistic, unsupported by market expectations, and not independently

tested for reasonableness; and (iii) Orvos did not perform his own independent valuation, and did

not test the assumptions or analyses performed by Duff & Phelps.34

        In light of Dr. Shaked’s in-depth analysis and well-reasoned opinions regarding the

Debtors’ insolvency at all relevant times, the Estates readily could establish that the Distribution

was a constructive fraudulent transfer, making the MyTheresa Asset (or its value) recoverable




31
    07/10/20 Gies Dep. Tr. at 238:15-25. A Lazard representative (Tyler Cowan) gave similar testimony
at his deposition on July 13, 2020. 07/13/20 Cowan Dep. Tr. at 275:6-277:6.
32
    See Exhibit F, a document produced by CPPIB and marked by CPPIB as Advisor’s Eyes Only for
reasons that the Committee does not understand; Shaked Report at pg. 31.
33
    See ARES_0084659 (Ares Valuation as of September 30, 2018); Shaked Report at pgs. 173-75.
34
    Shaked Report at pgs. 6, 171.

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from NMG Parent (as the initial transferee), the MYT Entities (as subsequent transferees) and/or

the Sponsors (as parties for whose benefit the transfer was made).

         The Distribution, however, is more egregious than a simple, “plain vanilla” constructive

fraudulent transfer: the Distribution is also avoidable as an actual fraudulent transfer. Unlike

most actual fraudulent transfer cases, where fraudulent intent must be discerned by resort to

“badges of fraud” or similar inferences of intent, there is a flashing neon sign of fraudulent intent

in this case – the stated purpose of the Distribution was to move “certain assets with strategic

value ... outside of the loan party group” in order to “maximize the long-term value ... for the

Sponsors.”35

         As another critical component of its investigation, and addressing the second “condition”

identified by the Debtors, the Committee has researched and analyzed the benefit to the Debtors

and their unsecured creditors of pursuing – rather than releasing – the Estates’ litigation claims

related to the distribution of the MyTheresa Asset. As discussed in further detail herein,

prosecution of the litigation claims would allow the Estates to regain control of (or at least

recover the value of) the extremely lucrative MyTheresa Asset that never should have been taken

from the Debtors in the first place. It also would give the Estates – after years of domination of

the Debtors by the Sponsors, with their hand-picked Directors, counsel and advisors – the ability

to choose how to best maximize distributions from the MyTheresa Asset for the benefit of the

Debtors and their unsecured creditors.

         With this flexibility and (finally) independence, the Estates could (and should) choose to

distribute the value of the MyTheresa Asset in a manner that both augments the Estates (by

allowing the Estates to retain the value of the MyTheresa Asset that otherwise would go to NMG

35
     ARES_0003465 and ARES_0003468.

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Parent and, indirectly, the Sponsors under the MYT Waterfall) and remains value-neutral as to

those creditors who consented to the MYT Waterfall (by mirroring the distributions that would

be made to those creditors under the MYT Waterfall).

        While the Committee’s investigation is ongoing, and this Report presents only the

preliminary results of the Committee’s investigation to date, the Committee’s investigation thus

far has been rigorous and extensive. Over 810,000 pages of documents have been produced and

reviewed, eight depositions have been conducted as of July 14, 2020, and numerous legal

theories have been researched and analyzed. The facts obtained to date, and the Committee’s

related research and analysis, strongly indicate that the Estates’ claims against NMG Parent, the

Sponsors, the MYT Entities and the Directors (the “Litigation Targets”) should not be released

without consideration approximating the value of the MyTheresa Asset provided to the Estates in

exchange for such releases.

                II. OVERVIEW OF THE ESTATES’ LITIGATION CLAIMS

        The Estates’ claims that should be pursued against the Litigation Targets, based on the

Committee’s investigation to date, are outlined below, along with brief summaries of the key

facts and legal issues pertaining to each claim.36 The relevant facts are described in detail in

Section III of this Report, and the Committee’s analysis of the relevant legal issues is set forth at

length in Section IV of this Report.




36
   As discussed further in the remainder of this Report, (i) the Committee has investigated certain other
transfers made by the Debtors – including transfers made in connection with the sale-leaseback of three
parcels of real property – and has concluded, based on the information available to date, that the transfers
do not appear to give rise to actionable claims, and (ii) the Estates may have meritorious claims against
certain other parties, e.g., counsel and other advisors who assisted in the transfer of the MyTheresa
business, but such claims are beyond the scope of this Report and are not discussed herein.

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A. The Estates’ Constructive Fraudulent Transfer Claims Against NMG Parent, the MYT
   Entities and the Sponsors Based on the Distribution of the MyTheresa Asset

        The Distribution of the MyTheresa Asset from the Debtors to NMG Parent in September

2018 is avoidable as a constructive fraudulent transfer pursuant to 11 U.S.C. § 548(a)(1)(B), and

the MyTheresa Asset (or its value) should be recovered, for the benefit of the Debtors and their

Estates, from NMG Parent, the MYT Entities and/or the Sponsors pursuant to 11 U.S.C. § 550.37

        Both elements of a constructive fraudulent transfer claim can readily be established: (i)

the Debtors did not receive anything of value in exchange for the Distribution, which was

structured as an equity distribution of the MyTheresa Asset to NMG Parent, and the Debtors

have conceded as much; and (ii) Dr. Shaked has concluded that the Debtors were insolvent by

$785 million on September 14, 2018 just prior to the transfer, were insolvent by $1.608 billion

on September 14, 2018 after the transfer, and remained insolvent thereafter.38

        Upon avoidance of the Distribution, the MyTheresa Asset or its value will be

recoverable, pursuant to 11 U.S.C. § 550(a), from NMG Parent (as the initial transferee) and

from the MYT Entities (as subsequent transferees). The value of the MyTheresa Asset also will

be recoverable from the Sponsors as entities “for whose benefit” the Distribution was made.

While shareholders are generally not liable for transfers to the entity they own based solely on

their status as shareholders, courts have determined that shareholders are entities for whose

benefit such transfers are made where, as here, they both benefited from and knowingly

participated in the fraudulent transfer. The Committee’s investigation already has revealed



37
   To the extent any Litigation Target asserts that the Estates’ avoidance claims were released in the
TSA, any purported prepetition release of avoidance claims is not binding on the Estates. Avoidance
claims are “creditor claims” asserted by estate representatives pursuant to the avoidance powers granted
under the Bankruptcy Code – they are not “debtor claims” as to which an estate representative might
“stand in the shoes” of the debtor. See Section IV.A.3.b. of this Report.
38
   Shaked Report at pgs. 5, 7.

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extensive evidence showing the Sponsors not only designed and orchestrated the Distribution,

but were the intended and actual beneficiaries. Among other things:

                The Distribution was designed by the Sponsors, with the assistance of advisors
                 selected by the Sponsors, for the express purpose of moving the MyTheresa Asset
                 outside of the loan party group, to enhance value for the Sponsors.

                The Distribution was considered and approved by a board consisting of directors
                 selected only by the Sponsors.

                The Distribution, while ultimately structured as a transfer from the Debtors to
                 NMG Parent, was initiated and consummated to facilitate an eventual transfer of
                 the MyTheresa Asset from NMG Parent to the Sponsors themselves.

B. The Estates’ Actual Fraudulent Transfer Claims Against NMG Parent, the MYT
   Entities and the Sponsors Based on the Distribution of the MyTheresa Asset

         The Distribution of the MyTheresa Asset from the Debtors to NMG Parent in September

2018 also is avoidable as an actual fraudulent transfer pursuant to 11 U.S.C. § 548(a)(1)(A), and

the MyTheresa Asset (or its value) should be recovered, for the benefit of the Debtors and their

Estates, from NMG Parent, the MYT Entities and/or the Sponsors pursuant to 11 U.S.C. § 550.

         There is a clear expression of intent to hinder, delay or defraud the Debtors’ creditors in

this case. The stated purpose of the Distribution was to move the MyTheresa Asset “outside of

the loan party group” in order to “maximize the long-term value ... for the Sponsors.”39

Although likely unnecessary, there is extensive evidence to support the “badges” of fraud and

other similar inferences. The Distribution was made to or for the benefit of entities that exercised

complete control over the Debtors, at a time when the Debtors were insolvent, with no

consideration provided to the Debtors in return and no ostensible business justification for the

Debtors to make this gratuitous transfer, under circumstances – the Debtors’ financial distress in

39
     ARES_0003465 and ARES_0003468.

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2016, when the Sponsors first conceived their plan for the MyTheresa Asset – which

demonstrate that the Distribution was a brazen asset grab by the Sponsors to salvage their

distressed investment at the expense of the Debtors and their creditors.

        Thus, the Distribution is avoidable as an actual fraudulent transfer and, for the reasons

discussed above, the MyTheresa Asset or its value is recoverable under 11 U.S.C. § 550(a) from

NMG Parent (as the initial transferee) or the MYT Entities (as subsequent transferees), and the

value of the MyTheresa Asset is recoverable under 11 U.S.C. § 550(a) from the Sponsors as

entities for whose benefit the transfer was made.

C. The Estates’ Additional State Law Claims Against NMG Parent, the Directors and the
   Sponsors Based on the Distribution of the MyTheresa Asset

        In addition to their fraudulent transfer claims under the Bankruptcy Code, the Estates can

assert state law claims against the Litigation Targets, including an illegal distribution claim,

claims for breach of fiduciary duty, and claims for aiding and abetting a breach of fiduciary duty.

The additional state law claims likely would meaningfully enhance the amount of actual

damages recoverable by the Estates only if the Estates do not recover, through their constructive

or actual fraudulent transfer claims, the MyTheresa Asset or its value.40

     1. The Estates’ Illegal Distribution Claim Against NMG Parent

        The Distribution of the MyTheresa Asset to NMG Parent from the last Debtor in the

“chain” of distribution – Debtor Mariposa Intermediate Holdings LLC (“Holdings”) – was an


40
   To the extent any Litigation Target asserts that the state law claims were released in the TSA, the
releases themselves may be avoidable as constructive fraudulent transfers. The TSA was executed in
March 2019. Dr. Shaked has concluded that the Debtors were insolvent on and after March 14, 2017, and
remained insolvent through the Petition Date. Moreover, while the Committee has not obtained an expert
opinion on the issue, the Committee also has not seen any evidence to suggest that any value provided to
the Debtors in connection with the TSA or Recapitalization was equivalent in value to what the Debtors
“gave up” by granting the releases, i.e., the hundreds of millions of dollars recoverable from the Litigation
Targets on the Debtors’ claims. See Section IV.B.5. of this Report.

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unlawful equity distribution by Holdings under 6 Del. C. § 18-607(a), which prohibits

distributions by limited liability companies that render such companies insolvent. The amount of

the Distribution is recoverable from NMG Parent pursuant to 6 Del. C. § 18-607(b), which

permits recovery of an unlawful distribution from a member-recipient that had knowledge of the

unlawful nature of the distribution.

         The Debtors (including Holdings) undoubtedly were insolvent prior to the Distribution,

and were rendered even more insolvent by the Distribution. Dr. Shaked has concluded that the

Debtors were insolvent by $785 million on September 14, 2018 just prior to the Distribution, and

were insolvent by $1.608 billion on September 14, 2018 immediately after the Distribution.41

         The amount of the Distribution can be recovered from NMG Parent because NMG Parent

cannot credibly claim to have been unaware of the Debtors’ insolvency. A CFO (Orvos) who

had no valuation experience was selected to prepare the valuation memoranda used to “support”

the decision to approve the Distribution. The CFO was selected notwithstanding that the Debtors

have described themselves and their finance/accounting divisions as having “[n]o culture of

forecast accuracy – ‘story we want’ vs ‘reality’, with no consequence for execution errors.”42

One of the goals of the Committee’s investigation was to determine the answer to a very key

question: why, after retaining numerous outside financial advisors – including Lazard, Duff &

Phelps and Moelis & Company (“Moelis”) – to help them structure the Distribution, the

Sponsors and NMG Parent chose an admittedly unqualified CFO to value the Debtors and opine

on their solvency. An Ares-affiliated Director of NMG Parent (Dennis T. Gies) answered that

question at his deposition on July 10, 2020 – the Sponsors knew that, in light of the Debtors’


41
     Shaked Report at pg. 7.
42
     NMDEBTORS00454394 at pg. 2 (emphasis in original).

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debt burden and upcoming maturities, no third party would conclude that the Debtors were

solvent at the time of the Distribution.43

        In sum, the Estates can assert an illegal distribution claim to recover the amount of the

Distribution against NMG Parent, the member of Holdings that wrongfully received the

Distribution of the MyTheresa Asset in September 2018.

     2. The Estates’ Breach of Fiduciary Duty Claims Against NMG Parent and the
        Directors

        As the member-manager of Holdings, NMG Parent owed “traditional” fiduciary duties to

Holdings, i.e., fiduciary duties of loyalty and due care. The Directors of NMG Parent – as the

only natural persons charged with or capable of exercising the fiduciary duties owed to the

Debtors by their respective managers – also owed fiduciary duties to the Debtors, based on their

control over the Debtors, that (at a minimum) included a duty, which has been likened to a duty

of loyalty, not to use their control over the Debtors to disadvantage the Debtors.

        There is no doubt that the Sponsors, via their hand-picked Directors, controlled NMG

Parent and the Debtors. In the Debtors’ own words, “[w]e are controlled by the Sponsors.”44

NMG Parent and its Sponsor-controlled board abused their control over the Debtors and

breached their respective duties to the Debtors by approving the Distribution, which was

designed and implemented for the Sponsors’ benefit, not the Debtors’ benefit, to salvage the

Sponsors’ failing investment in the Debtors by removing the MyTheresa Asset from the reach of

the Debtors’ creditors. Further, approval of the Distribution certainly “disadvantaged” the

Debtors – the MyTheresa Asset, worth hundreds of millions of dollars in September 2018, was


43
  07/10/20 Gies Dep. Tr. at 238:15-25; see also 07/13/20 Cowan Dep. Tr. at 275:6-277:6.
44
  Neiman Marcus Group LTD LLC Form 10-K for FYE July 28, 2018, retrieved from http://neiman.gcs-
web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 29 (emphasis in original).

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transferred to NMG Parent for no consideration, at a time when the Debtors were insolvent by at

least $785 million just prior to the Distribution and, after giving effect to the Distribution, were

insolvent by at least $1.608 billion.45

        Actual damages proximately caused by the breaches of duty would be the value of the

MyTheresa Asset, i.e., the amount the Debtors would have retained but for the breach of duty. In

prosecuting the Estates’ breach of fiduciary duty claims, a litigation trustee or other estate

representative also would need to determine whether to seek punitive damages against NMG

Parent or the Directors.46

     3. The Estates’ Aiding and Abetting Breach of Fiduciary Duty Claims Against the
        Sponsors

        Finally, the Estates have colorable claims against the Sponsors for aiding and abetting

NMG Parent and the Directors in their breaches of fiduciary duties owed to the Debtors.47 Under

Delaware law, an aiding and abetting claim requires proof of knowing participation in the breach

of duty. That standard is easily met in this case. The Sponsors did much more than “knowingly

participate” in the Distribution – the Sponsors designed and orchestrated the Distribution for the

express purpose of moving the MyTheresa Asset outside of the loan party group, to enhance

value for the Sponsors, at a time when the Debtors were insolvent.

        A defendant who aids and abets a breach of fiduciary duty is jointly and severally liable

for the damages resulting from the breach. Therefore, the amount of actual damages on the


45
    Shaked Report at pgs. 5, 7.
46
   Punitive damages may be available on the Estates’ breach of fiduciary duty claims to the extent that the
underlying conduct is willful and wanton, or “particularly reprehensible.” See, e.g., Seitz v. Fretz (In re
Covenant Partners, L.P.), 2017 Bankr. LEXIS 592, *19-21 (Bankr. E.D. Pa. Mar. 2, 2017).
47
    Aiding and abetting claims also could be asserted against other parties who did not owe fiduciary
duties to the Debtors. For instance, to the extent any Director is found not to have owed fiduciary duties
to the Debtors, a claim against such Director(s) could be asserted for aiding and abetting the breaches of
fiduciary duty by NMG Parent and other Directors.

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Estates’ aiding and abetting breach of fiduciary duty claims would be the same as the amount of

damages recoverable on the Estates’ breach of fiduciary duty claims. In addition, as noted above,

in prosecuting the Estates’ state law tort claims, a litigation trustee or other estate representative

also would need to consider seeking punitive damages against the Sponsors. Because simply

being compelled to give back the asset they looted from the Debtors is not likely to deter similar

misconduct in the future, a court or jury may find that punitive damages are appropriate.

                              III. RELEVANT BACKGROUND

A. The Sponsors’ Ownership and Control of NMG Parent and the Debtors

     1. The Sponsors’ Acquisition of the Debtors in October 2013

         The Sponsors acquired the Debtors in October 2013 through an approximately $6 billion

leveraged buyout (the “LBO”), in which Ares and CPPIB each invested $650 million.48 Upon

completion of the LBO and related transactions, Ares and CPPIB each owned (and continue to

own) at least 40% of the equity in NMG Parent.49 As reflected on the attached organizational

charts (Exhibits A-C), NMG Parent is the direct parent (and sole member) of Holdings and is the

indirect parent of the other Debtors. Through their more than 80% ownership of NMG Parent,

the Sponsors controlled each of the Debtors. As stated by Debtor Neiman Marcus Group LTD

LLC in numerous annual reports filed with the U.S. Securities and Exchange Commission:

           We are controlled by the Sponsors, whose interests as equity holders may
           conflict with those of the lenders under our Senior Secured Credit Facilities
           and the holders of the Notes.

           We are controlled by the Sponsors. The Sponsors control the election of a
           majority of our directors and thereby have the power to control our affairs and
           policies, including the appointment of management, the issuance of additional
           stock and the declaration and payment of dividends. The Sponsors do not

48
     CPPIB_PROD_00060717.
49
     Id.; see also CPPIB_PROD_00015965-68 (February 9, 2017 CPPIB memorandum).

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           have any liability for any obligations under our indebtedness and their
           interests may be in conflict with those of the lenders under our Senior Secured
           Credit Facilities and the holders of the Notes. For example, if we encounter
           financial difficulties or are unable to pay our debts as they mature, the
           Sponsors may pursue strategies that favor equity investors over debt investors.
           Our equity holders may have an interest in pursuing acquisitions, divestitures,
           financing or other transactions that, in their judgment, could enhance the
           value of their equity investments, even though such transactions may involve
           risk to holders of our debt. Additionally, the Sponsors may make investments
           in businesses that directly or indirectly compete with us, or may pursue
           acquisition opportunities that may be complementary to our business and, as a
           result, those acquisition opportunities may not be available to us.50

     2. The Sponsors’ Control Over the Debtors’ Corporate Governance

        At all relevant times since mid-2018, the board of NMG Parent was composed of ten

directors, all of whom were selected by the Sponsors. Pursuant to a Stockholders Agreement

entered into in connection with the LBO, Ares was entitled (on its own) to designate three

members, CPPIB was entitled (on its own) to designate three members, Ares and CPPIB were

entitled to jointly designate three members, and the remaining seat was reserved for the current

chief executive officer of NMG Parent (an officer selected by the board members).51

        The directors designated solely by Ares included, at all relevant times discussed herein,

the following individuals:

                David B. Kaplan (“Kaplan”): Kaplan is a co-founder of Ares Management, L.P
                 and also holds numerous high-ranking positions at a variety of other Ares-related
                 entities. He joined the board of NMG Parent in October 2013, and was the
                 Chairman of NMG Parent’s board from December 2013 through April 2020.52




50
   Neiman Marcus Group LTD LLC (2018), Form 10-K for FYE July 28, 2018, retrieved from
http://neiman.gcs-web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 29 (emphasis in
original).
51
   Neiman Marcus Group LTD LLC (2018), Form 10-K for FYE July 28, 2018, retrieved from
http://neiman.gcs-web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 65.
52
   Neiman Marcus Group LTD LLC (2014), Form 10-K for FYE August 2, 2014, retrieved from
https://neiman.gcs-web.com/static-files/bb319fa4-f570-4415-8827-4d945507ce28, at pg. 59.

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                Dennis T. Gies (“Gies”): Gies has been affiliated with Ares since 2006 and is a
                 partner in the Private Equity Group of Ares Management, L.P. He has been a
                 member of NMG Parent’s board of directors since 2016.53

                Norman H. Axelrod (“Axelrod”): Axelrod has been a member of NMG Parent’s
                 board of directors since the Sponsors acquired the Debtors in October 2013.
                 Professionally, Axelrod is an independent contractor who works exclusively for
                 Ares in connection with its consumer-related investments, and is an Ares-
                 appointed director on the boards of directors of numerous other companies.54
                 Further, Axelrod (individually or through a family trust) is one of the Sponsors’
                 co-investors in the Debtors, with an approximately $1.5 million investment.55

        The directors designated solely by CPPIB have included the following individuals:

                Graeme M. Eadie (“Eadie”): Eadie was a Senior Managing Director of CPPIB
                 until his retirement in 2018, and has been affiliated with CPPIB since June 2005.
                 He has been a member of NMG Parent’s board of directors since May 2017.56

                Cesare J. Ruggiero (“Ruggiero”): Ruggiero has been affiliated with CPPIB since
                 2014 and is a Senior Principal at CPPIB. He has been a member of NMG Parent’s
                 board of directors since May 2018.57

                Nora A. Aufreiter (“Aufreiter”): Aufreiter has been a member of NMG Parent’s
                 board of directors since January 2014.

                Scott Nishi (“Nishi”): Nishi was a Senior Principal – Direct Private Equity at
                 CPPIB from 2007 through 2018. He served as a member of NMG Parent’s board
                 of directors from September 2013 through May 2018.




53
   Neiman Marcus Group LTD LLC (2018), Form 10-K for FYE July 28, 2018, retrieved from
http://neiman.gcs-web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 65.
54
   07/08/20 Axelrod Dep. Tr. at 20:19-21, 22:7-32:2.
55
   CPPIB_PROD_00060717.
56
   Neiman Marcus Group LTD LLC (2018), Form 10-K for FYE July 28, 2018, retrieved from
http://neiman.gcs-web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 64.
57
   Neiman Marcus Group LTD LLC (2018), Form 10-K for FYE July 28, 2018, retrieved from
http://neiman.gcs-web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 65.

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                  Shane Feeney (“Feeney”): Feeney has been affiliated with CPPIB since 2010 and
                   is currently a Senior Managing Director & Global Head of Private Equity at
                   CPPIB. He served as a member of NMG Parent’s board of directors from October
                   2013 through May 2017.

          The directors jointly designated by Ares and CPPIB were, at relevant times discussed

herein, as follows:

                  Philippe E. Bourguignon (“Bourguignon”): Bourguignon has served as a member
                   of NMG Parent’s board of directors since April 2014.

                  Alan J. Herrick (“Herrick”): Herrick has served as a member of NMG Parent’s
                   board of directors since May 2018.

                  Karen W. Katz (“Katz”): Katz was on NMG Parent’s board of directors from
                   October 2010, first in her capacity as the CEO of NMG Parent and then, after her
                   retirement in February 2018, as a board member jointly designated by the
                   Sponsors.58

                  Adam Brotman (“Brotman”): Brotman served as a member of NMG Parent’s
                   board of directors from April 2014 to February 2018.

          None of the Debtors involved in the transfer of the MyTheresa Asset to NMG Parent had

a “traditional” board of directors or managers. Each was member-managed by its sole member,

another entity in the Neiman Marcus organizational structure. The Debtors and related

subsidiaries involved in the transfer of the MyTheresa Asset were:

                  Debtor Holdings, managed by its sole member (non-Debtor NMG Parent);

                  Debtor Neiman Marcus Group LTD LLC (“NMG LTD”), managed by its sole
                   member (Debtor Holdings);

                  Debtor The Neiman Marcus Group LLC (“NMG LLC”), managed by its sole
                   member (Debtor NMG LTD); and



58
     Id. at pgs. 64-65.

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                NMG International LLC (“NMG International”), a non-Debtor subsidiary
                 managed by its sole member (Debtor NMG LLC).59

     3. Relevant Provisions of the Debtors’ Operating Agreements

        As outlined above and discussed in further detail below, the MyTheresa Asset originally

was held in the Neiman Marcus corporate structure by NMG International, a subsidiary of

Debtor NMG LLC, and then was distributed from NMG International through three Debtors

(NMG LLC, NMG LTD and Holdings) to NMG Parent. The operative limited liability company

agreements for NMG LLC and NMG LTD each provided, in relevant part, as follows:

           The business and affairs of the Company shall be managed by the Member.
           The Company shall be “member managed” within the meaning of and
           pursuant to the Act. At no time shall the Company have any board of
           managers, board of directors or similar governing body.60

The operative limited liability company agreement for Holdings similarly provides that the

“business and affairs of [Holdings] shall be managed by the Member” i.e., NMG Parent f/k/a

NM Mariposa Holdings, Inc.61

        The operating agreements for NMG LLC, NMG LTD and Holdings do not eliminate

fiduciary duties, but rather contain exculpation provisions that state as follows:




59
   NMDEBTORS00011270 (Holdings Op. Agreement at Section 8); NMDEBTORS00017445 (NMG
LTD Op. Agreement at Section 8); NMDEBTORS00017474 (NMG LLC Op. Agreement at Section 8);
NMDEBTORS00024031 (NMG International Op. Agreement at Section 8).
60
   NMDEBTORS00017444-50 at NMDEBTORS00017445 (NMG LTD Op. Agreement at Section 8);
NMDEBTORS00017473-78 at NMDEBTORS00017474 (NMG LLC Op. Agreement at Section 8).
61
   NMDEBTORS00011269-74 at NMDEBTORS00011270 (Holdings Op. Agreement at Section 8).

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           Exculpation and Indemnification. No Member or Officer shall be liable to the
           Company or any other person or entity who is bound by this Agreement for
           any loss, damage or claim incurred by reason of any act or omission
           performed or omitted by such Member or Officer in good faith on behalf of
           the Company and in a manner reasonably believed to be within the scope of
           authority conferred on such Member or Officer by this Agreement, except that
           a Member or an Officer shall be liable for any such loss, damage or claim
           incurred by reason of such Member’s or Officer’s gross negligence or willful
           misconduct.62

B. The Debtors’ Capital Structure After the LBO

        To facilitate the Sponsors’ acquisition of the Debtors in October 2013, the Debtors were

saddled with approximately $5 billion of debt. Specifically, certain of the Debtors entered into

the following transactions and incurred the following debt:

                An $800 million (later increased to $900 million) senior secured asset-based
                 revolving credit facility (the “ABL Credit Agreement”);

                A $2,950 million senior secured term loan agreement dated as of October 25,
                 2013 (the “2013 Term Loan Agreement”);

                $960 million in aggregate principal amount of unsecured senior cash pay notes
                 (the “Cash Pay Notes”); and

                $600 million in aggregate principal amount of unsecured senior PIK toggle notes
                 (the “PIK Toggle Notes” and, with the Cash Pay Notes, the “Unsecured Notes”).63

Certain of the Debtors also remained obligated under $125 million of senior debentures due 2028

(the “2028 Debentures”) that were issued in May 1998.64

        The indentures governing the Unsecured Notes contained restrictive covenants that

limited the ability of the Debtors and certain of their subsidiaries (“Restricted Subsidiaries”) to,

among other things, pay dividends or make other distributions, incur additional debt, transfer or

62
   NMDEBTORS00017476 (NMG LLC Op. Agreement at Section 24); NMDEBTORS00017447 (NMG
LTD Op. Agreement at Section 23); NMDEBTORS00011271 (Holdings Op. Agreement at Section 24).
63
   Neiman Marcus Group LTD LLC (2014), Form 10-K for FYE August 2, 2014, retrieved from
https://neiman.gcs-web.com/static-files/bb319fa4-f570-4415-8827-4d945507ce28, at pg. 46.
64
   Id. at pg. 47.

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sell assets, create liens on assets, engage in certain transactions with affiliates, or designate

subsidiaries as unrestricted subsidiaries (“Unrestricted Subsidiaries”).65 The ABL Credit

Agreement and 2013 Term Loan Agreement contained similar restrictive covenants.66

C. The Debtors’ Acquisition of MyTheresa in October 2014

        In October 2014, the Debtors acquired MyTheresa, a luxury retailer headquartered in

Munich, Germany. In connection with the acquisition, the Debtors formed Mariposa

Luxembourg I S.à.r.l. (“Lux I”), a Luxembourg company that, together with its subsidiaries,

owned and operated the MyTheresa business after it was acquired by the Debtors. As set forth in

the attached pre-Distribution organizational chart (Exhibit A), Lux I was held in the Neiman

Marcus corporate structure as a wholly-owned subsidiary of NMG International, an entity that

was a wholly-owned subsidiary of Debtor NMG LLC.67

        Debtor NMG LLC funded the acquisition of MyTheresa. The purchase price, net of cash

acquired, was approximately $181.7 million. The Debtors also made additional earn-out

payments to the sellers in 2016 and 2017, which totaled approximately $56.7 million.68

        At or shortly after the acquisition, Lux I and its subsidiaries were designated as

Unrestricted Subsidiaries under the ABL Credit Agreement and 2013 Term Loan Credit

Agreement. However, each remained a Restricted Subsidiary under the Unsecured Notes.




65
   Neiman Marcus Group LTD Inc. (2013), Form 8-K dated October 29, 2013, retrieved from
https://neiman.gcs-web.com/static-files/b63f4634-f273-4df1-a657-b977053dec2b, at pg. 1.
66
   Id. at pg. 2.
67
   Neiman Marcus Group LTD LLC (2018), Form 10-K for FYE July 28, 2018, retrieved from
http://neiman.gcs-web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. F-56.
68
   Neiman Marcus Group LTD LLC (2017), Form 10-K for FYE July 29, 2017, retrieved from
https://neiman.gcs-web.com/static-files/3acd970d-8281-4983-80d8-5af5d8378264, at pg. F-16.

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D. MyTheresa’s Phenomenal Growth After the Acquisition

         MyTheresa was an incredibly valuable, high growth segment of the Debtors’ business,

with an extremely loyal customer base of high-income individuals with “great appreciation for

luxury goods.”69 After the acquisition, MyTheresa’s revenue increased by more than 360%, from

$93 million to $428 million from FY2013 to FY2019, and MyTheresa’s median revenue growth

rate from FY2014 to FY2018 was 30.7% compared to a median revenue growth rate of only

2.2% for the rest of the Debtors’ business.70 Furthermore, Dr. Shaked has concluded that

MyTheresa had a positive equity value of $675 million in March 2017, while the Debtors as a

whole (even including MyTheresa) had an equity value of negative $1.198 billion at the same

time.71 MyTheresa remained a high-value segment of the Debtors’ business up until it was

siphoned off from the Debtors in September 2018: MyTheresa had a positive equity value of

$822 million as of September 14, 2018, while the Debtors as a whole (even including

MyTheresa) had an equity value of negative $785 million just prior to the Distribution.72

E. Financial Distress of the Debtors’ Other Business Segments in 2016

         In contrast to the success of MyTheresa, the remainder of the Debtors’ business was in

financial distress as of FY2016. The Debtors’ operating performance, excluding MyTheresa,

experienced sharp declines beginning in 2016. Excluding MyTheresa, the Debtors’ EBITDA

margin dropped from 14% in FY2015 to 12% in FY2016, with a further decline to 9.4% in

FY2017.73




69
     NMDEBTORS00133207; Shaked Report at pg. 190.
70
     Shaked Report at pgs. 189, 191.
71
     Shaked Report at pgs. 5, 7.
72
     Shaked Report at pgs. 5, 7.
73
     Shaked Report at pg. 57.

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June 30, 2017, S&P downgraded the Debtors’ corporate credit rating from CCC+ to CCC, and

downgraded the rating on the Unsecured Notes from CCC- to CC.75

        The rating downgrades on the Debtors’ indebtedness were described as follows in NMG

LTD’s Form 10-K for FYE July 28, 2018:

           Our indebtedness currently has a non-investment grade rating, and any rating
           assigned could be lowered or withdrawn entirely by a rating agency if, in that
           rating agency’s judgment, future circumstances relating to the basis of the
           rating, such as adverse changes in our business, warrant. Our indebtedness
           was downgraded twice by Standard & Poor’s and once by Moody’s during
           fiscal year 2017. Any future actual or perceived adverse changes to our capital
           structure or to our earnings could result in additional downgrades. Any further
           downgrade by any ratings agency may increase the interest rate on our Senior
           Secured Credit Facilities, limit our access to brand partner financing on
           favorable terms or otherwise result in higher borrowing costs, and likely
           would make it more difficult or more expensive for us to obtain additional
           debt financing.76

        The Sponsors were well aware of the Debtors’ financial decline beginning in FY2016.

CPPIB’s February 7, 2017 asset review noted that the Debtors’ operating performance was

“below the investment case” with FY2016 same store sales growth well below base case –

reported by CPPIB as -4.1% vs. 6.7% – and overall sales 10% below base case.77




                             .78


75
   Dep. Ex. UCC_BR_0004 (06/30/17 S&P Research Update on The Neiman Marcus Group) at pg. 2.
76
   Neiman Marcus Group LTD LLC Form 10-K for FYE July 28, 2018, retrieved from http://neiman.gcs-
web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 28.
77
   Dep. Ex. UCC0001DS at CPPIB_PROD_00008905.
78
   See Exhibit D, Neiman Marcus – Investment Snapshot (CPPIB PROD 00009163), under the
“Valuation” heading at the “MoC” (i.e., multiple of capital) row of the “Valuation Analysis” chart.

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F. The Sponsors’ Scheme to Siphon Off the MyTheresa Asset From the Debtors

         In or around June 2016, the Sponsors began devising and implementing a plan to strip the

MyTheresa Asset (or its value) from the Debtors, and to insulate – or attempt to insulate – the

Sponsors and their affiliates from liability to the Debtors or their creditors. In an email dated

June 15, 2016, Ares (Rachel Lee) stated that “we had talked a few weeks ago about separating

the MyTheresa asset” and asked Proskauer Rose LLP (“Proskauer”) “[i]f we wanted to

‘dividend’ the stock of MyTheresa to existing NMG shareholders, could we do that and what are

the implications? Basically looking to see if we can split it out of NMG.”80

         As outlined below, three law firms and three financial advisory firms were retained in

connection with the Sponsors’ plan for the MyTheresa Asset. Based on the Committee’s

investigation to date, it appears that the attorneys and financial advisors identified below were

retained by and/or represented, at various times, the Sponsors, NMG Parent, the Directors and

the Debtors. While clarification of the various representations continues to be a subject of the

Committee’s investigation, the Committee thus far has not seen any evidence suggesting that any

independent counsel or financial advisors were ever retained solely on behalf of the Debtors, to

advocate for and protect the Debtors’ interests, as opposed to the interests of the Sponsors, NMG

Parent and/or the Directors.


79
     See id.                                                         ; see also Exhibit E.
80
     ARES_0119563 (emphasis added).

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        The following three law firms were retained in connection with the Sponsors’ plan for

MyTheresa:

                Proskauer served as corporate counsel.81

                Latham & Watkins LLP (“Latham”) served as debt advisory counsel.82 Latham’s
                 representation began when it represented the Sponsors with respect to financing
                 for the Sponsors’ LBO of the Debtors.83

                Kirkland & Ellis LLP (“Kirkland”) served as litigation and fiduciary duties
                 counsel in connection with the MyTheresa-related transactions and the PropCo
                 Transaction (as defined below). Kirkland was introduced to the board of NMG
                 Parent by Ares (which had previously retained Kirkland in other matters).84
                 Kirkland’s retention by the board was proposed at a March 2, 2017 meeting
                 because “[g]iven the complexity of the transactions under consideration, [NMG
                 Parent] believed the Board should consider retaining separate counsel to advise
                 the Board during each of these transactions, in addition to Proskauer who would
                 continue to represent [NMG Parent]”85 and approved by purportedly
                 “independent” directors86 at a March 8, 2017 board meeting.87 Although Kirkland
                 was not retained by Neiman Marcus until March 2017, as early as February 9,
                 2017, CPPIB stated that “NMG has retained ... Kirkland & Ellis (litigation and
                 fiduciary duties).”88 Indeed, it appears that Kirkland’s retention was already a fait
                 accompli prior to their introduction to NMG Parent’s purportedly “independent”
                 directors, as Kirkland’s retention letter is dated February 16, 2017.




81
   CPPIB_PROD_00051260.
82
   CPPIB_PROD_00051260.
83
   07/10/20 Gies Dep. Tr. at 145:17-146:22.
84
   07/10/20 Gies Dep. Tr. at 142:7-8, 143:3-5.
85
   NMDEBTORS00045534.
86
   Notably, the purportedly “independent” directors who approved Kirkland’s retention included Axelrod
and Aufreiter, two Directors who were appointed solely by Ares and CPPIB, respectively.
87
   NMDEBTORS00119548.
88
   CPPIB_PROD_00051260.

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        The following three financial advisory firms also were retained in connection with the

Sponsor’s plan for MyTheresa:

                Lazard was formally retained by various parties on March 8, 201789 “as a
                 financial advisor in connection with any Exchange, Sale Transaction, and, subject
                 to the parties’ agreement, any MyTheresa Transaction and any Strategic
                 Transaction.”90 Nearly two months earlier, however, on or about January 12,
                 2017,91 the Sponsors alone interviewed Lazard and thereafter “hired Lazard to act
                 as a financial advisor to assist in enacting any potential liability and capital
                 structure management options.”92

                Duff & Phelps was retained by Proskauer on behalf of NMG Parent to provide
                 valuation opinions relating to MyTheresa and the PropCo Transaction.93

                Moelis was retained on March 8, 2017.94

        In Lazard’s pitch to the Sponsors on January 12, 2017, Lazard provided the Sponsors

with a presentation outlining various means by which the Sponsors could siphon value from the

Debtors, via “transactions that would enhance long-term shareholder value by moving certain

assets with strategic value, such as the MyTheresa business, outside of the loan party group” in

order to “maximize the long-term value of MyTheresa for the Sponsors.”95                       The options

presented included (i) to “[d]ividend MyTheresa to the Sponsors” or a new “TopCo” outside the

loan party group, (ii) selling MyTheresa to the Sponsors or another party for cash, and (iii)

89
   NMDEBTORS0011951.
90
   NMDEBTORS00330731 (March 9, 2017 Engagement Letter). Lazard’s original engagement letter
was amended and restated on August 28, 2018. NMDEBTORS00330745.
91
   ARES_0003465 and ARES_0003468.
92
   CPPIB PROD 00015966 (February 9, 2017 CPPIB memorandum stating that the “Sponsors have
hired Lazard to act as a financial advisor to assist in enacting any potential liability and capital structure
management options”).
93
   NMDEBTORS00040535 (excerpt from March 10, 2017 board materials reflecting that Proskauer
retained Duff & Phelps on behalf of NMG Parent).
94
   NMDEBTORS0011951. Moelis’ original engagement letter was amended and restated on September
18, 2018. NMDEBTORS00330760.
95
   ARES_0003465 and ARES_0003468.

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selling MyTheresa to a new TopCo for contribution of debt.96 The discussion of the dividend

option specifically noted the litigation risk associated with “[f]raudulent conveyance/fiduciary

duty considerations” and observed that the Sponsors “[m]ust be sensitive to fraudulent transfer,

fiduciary duty, and applicable corporate law considerations on a by-entity basis.”97

        Lazard’s presentation also discussed various deleveraging options related to the

Unsecured Notes. The potential transactions outlined in the presentation included, among other

things, a “debt-for-secured debt” exchange, and a “debt-for-structurally senior debt” exchange

which contemplated that the Debtors would contribute assets to a newly formed Unrestricted

Subsidiary, which in turn would issue new debt in exchange for the existing Unsecured Notes.98

        By February 2017, the Sponsors had made their decision: (i) the Sponsors would

designate the MyTheresa Entities as Unrestricted Subsidiaries, to pave the way for a distribution

of the MyTheresa Asset; (ii) the Sponsors would cause the Debtors to contribute real estate

assets to a newly formed Unrestricted Subsidiary, and then use those assets to raise new first lien

debt either “in the form of cash or a voluntary exchange of existing notes” at a favorable

discount; (iii) as a condition to the contemplated “consensual restructuring” of the Debtors’ debt,

the Sponsors would demand that “[a]ll participating creditors ... consent to a dividend of

MyTheresa” to either the Sponsors or NMG Parent; and (iv) the Sponsors would cause the

Debtors to distribute the MyTheresa Asset to NMG Parent and then to the Sponsors.99


96
   ARES_0003480.
97
   ARES_0003480-81 and ARES_0003490.
98
   ARES_0003478-79 and ARES_0003483.
99
    See, e.g., Deposition Ex. DM010JM (February 13, 2017 email from J. Schulman to K. Katz stating
“Ares is exploring moving MT from NMG OpCo to HoldCo”); NMDEBTORS00126272 (February 14,
2017 email to M. Kliger at MyTheresa, requesting MyTheresa financial information: “As discussed last
night, Ares is looking at the possibility of moving MT from OpCo to HoldCo.”);
NMDEBTORS00045531 (March 2, 2017 board minutes of NMG Parent discussing contribution of real
estate assets to new subsidiary, and the designation and distribution of the MyTheresa Asset);

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        Each of the steps of the Sponsors’ plan is discussed in further detail below. While at

various times the dividend of the MyTheresa Asset is described only as a dividend to NMG

Parent, there can be no doubt that the Sponsors themselves ultimately intended to benefit from

the dividend of the MyTheresa Asset. In an October 30, 2017 email exchange between Ares

(Andrew Paik) and Lazard (Michael Weitz), discussing a request by representatives of the

Debtors to be included on weekly calls, Ares stated:

           I think it’ll eventually make sense to add them to a weekly call, but probably
           when we’ve signed the lenders up under NDA and we’re further down the
           process. There’s obviously sensitivity because we’re confidentially still
           trying to dividend out MT but the company is unaware.100

    1. Step One: Designation of MyTheresa Entities As Unrestricted Subsidiaries

        The Sponsors formally presented their plan for the MyTheresa Entities to the full board

of directors of NMG Parent on March 2, 2017. The designation of the MyTheresa Entities as

Unrestricted Subsidiaries (the “Designation”) was presented to the board as the first step in a

process that ultimately would allow the MyTheresa Asset to be removed from the Neiman

Marcus corporate structure. As reflected in the minutes of the March 2, 2017 meeting, “[t]he

transaction would take the legal form of (i) designating Lux I as ‘unrestricted’ under indentures

and (ii) a series of dividends from NMG International, Inc., the current direct parent of Lux I, up

to Parent.”101 The minutes further reflect that the board members and other participants in the

meeting then engaged in “extensive discussion of the potential enhancement of equity value

through increased flexibility to monetize MYT separately from Neiman Marcus Group.”102

ARES_0002810 (August 28, 2017 term sheet requiring creditor consent to MyTheresa distribution); and
ARES_0002819-20 (September 2018 email exchange between Ares and Lazard discussing whether
creditor consent was still necessary given that, in or around September 2018, the Sponsors had decided
that MyTheresa would only be distributed to “Topco” at least for the time being).
100
    ARES_0012869 (emphasis added); see also ARES_0002819-20.
101
    NMDEBTORS00045532.
102
    Id.

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        The Sponsors’ plan for the MyTheresa Entities was also the subject of a March 8, 2017

meeting of NMG Parent’s board of directors and a March 10, 2017 meeting of NMG Parent’s

board of directors. The meeting minutes and related materials for all three of the meetings held

in March 2017 show that extensive consideration was given to the interests of NMG Parent and

the Sponsors, but virtually no thought was given to the best interests of the Debtors.103 Indeed,

the Debtors had no independent representation at any of the meetings that led to the approval of

the first phase of the Sponsors’ plan for the MyTheresa Asset. The meeting minutes and related

materials reflect the following participants:

                The directors of NMG Parent designated by Ares (Kaplan, Gies and Axelrod),
                 designated by CPPIB (Nishi, Feeney and Aufreiter), or jointly designated by both
                 Sponsors (Bourguignon and Brotman).

                Additional individuals affiliated with Ares.

                Lazard, the financial advisor hand-picked by the Sponsors. As set forth above,
                 Lazard helped the Sponsors implement their plan for the MyTheresa Asset while
                 the Sponsors were keeping a key feature of that plan – an ultimate distribution to
                 the Sponsors themselves – confidential from the Debtors and their representatives.

                Proskauer, Kirkland and Latham.

                Duff & Phelps.

                The CEO of NMG Parent, who also was the final member of the board of
                 directors of NMG Parent, and various other officers.

        The first step of the Sponsors’ plan for the MyTheresa Asset was approved by the

directors of NMG Parent on March 10, 2017. Specifically, on March 10, 2017, NMG Parent’s




103
  NMDEBTORS00045530-35 (March 2, 2017 minutes); NMDEBTORS00040434-45 (March 8, 2017
meeting materials); NMDEBTORS00040446-40689 (March 10, 2017 meeting materials); and
NMDEBTORS00045541-55 (March 10, 2017 minutes and resolutions).

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board of directors unanimously deemed it “advisable and in the best interests of [NMG Parent]”

to designate the MyTheresa Entities as Unrestricted Subsidiaries under the Indentures.104

      2. Step Two: Contribution of Real Estate Assets to New Unrestricted Subsidiary

         To begin the implementation of the second step in the Sponsors’ plan, Nancy Holdings

LLC (“PropCo”) was created on February 28, 2017 as a subsidiary of Debtor NMG LLC.105

PropCo was designated as an Unrestricted Subsidiary on March 10, 2017, pursuant to the same

resolutions of NMG Parent’s board of directors that approved the designation of the MyTheresa

Entities as Unrestricted Subsidiaries.106

         On or about March 10, 2017, NMG LLC contributed three parcels of real property to

PropCo.107 The properties transferred were the real estate underlying: (i) a Neiman Marcus

department store in McLean, Virginia; (ii) a Neiman Marcus department store in San Antonio,

Texas; and (iii) a distribution facility in Longview, Texas (collectively, the “Properties”).

Contemporaneously with the transfer of the Properties, NMG LLC entered into lease agreements

with PropCo (collectively, the “Leases”), pursuant to which NMG LLC leased the Properties

back from PropCo at monthly rental payments.108

         NMG LLC’s transaction with PropCo (the “PropCo Transaction”) appears to have been a

fairly typical sale-leaseback transaction. To date, the Committee has not identified any grounds

to challenge the contemporaneous appraisals performed in connection with the PropCo

Transaction. Furthermore, as stated above, PropCo was owned by Debtor NMG LLC. In other


104
    NMDEBTORS00045550.
105
    NMDEBTORS00023868-873 (Limited Liability Company Agreement of Nancy Holdings LLC).
106
    Id.
107
    NMDEBTORS00025336-467 (March 10, 2017 written consent of NMG LLC).
108
    NMDEBTORS00025008-52 (Longview, TX Lease Agreement), NMDEBTORS00024963-5007 (San
Antonio, TX Lease Agreement) and NMDEBTORS00024917-62 (McLean, VA Lease Agreement).

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words, unlike the distribution of the MyTheresa Asset, the PropCo Transaction did not transfer

the Properties or any of the Debtors’ other assets out of the reach of creditors. Notably, based on

the Committee’s investigation to date, it does not appear that the Debtors’ lenders or noteholders

ever objected to the PropCo Transaction. This is in marked contrast to – as discussed in the

following section – the very adverse reaction the Debtors’ creditors had to the proposed

distribution of the MyTheresa Asset.

      3. Step Three: Sponsor-Directed Negotiations With Creditors

         Following the designation of the MyTheresa Entities as Unrestricted Subsidiaries, the

Sponsors and their advisors began negotiating with the Debtors’ lenders and noteholders to pave

the way for the MyTheresa Asset to be siphoned off from the Debtors. As set forth in an August

28, 2017 term sheet, the Sponsors proposed a “consensual restructuring” of the Debtors’

obligations, pursuant to which (i) at least 95% of the existing 2013 Term Loan lenders would

exchange into a new extended term loan, (ii) at least 95% of the holders of the existing

Unsecured Notes would exchange into new extended unsecured notes, (iii) PropCo would sell

$180 million of new first lien notes to the participating 2013 Term Loan lenders and/or the

participating holders of the Unsecured Notes, and (iv) participating holders of the existing

Unsecured Notes would receive pro rata shares of $150 million of the proceeds of the new first

lien notes.109

         A key term of the Sponsors’ proposal to the Debtors’ lenders was that “[a]ll participating

creditors would consent to a dividend of MyTheresa.”110 The proposal on the table in late 2017

contemplated a dividend of the MyTheresa Asset not just to NMG Parent, but to the Sponsors

109
    ARES 0002807-16 (September 13, 2018 email chain between Ares and Lazard attaching the August
28, 2017 term sheet that was “shared last year”).
110
    Id. at ARES_0002810.

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themselves. As described by Ares in an October 30, 2017 email to Lazard, “we’re confidentially

still trying to dividend out MT but the company is unaware.”111

        The Sponsors’ goal was to close the amend-and-extend restructuring transaction by the

end of 2017 or early January 2018.112 The Sponsors, however, were unable to reach agreement

with the Debtors’ creditors. While creditors were “intrigued” by some aspects of the proposal

and “responded favorably” to some of the key economic terms, the Debtors’ secured lenders and

unsecured noteholders “were both opposed to a dividend of MyTheresa” notwithstanding that the

MyTheresa Entities had been designated as Unrestricted Subsidiaries.113

        Apparently due to the creditors’ resistance to the proposed distribution of the MyTheresa

Asset, negotiations with creditors stalled in December 2017, and did not recommence until in or

around September 2018.114 Notably, the terms proposed by the Sponsors in September 2018

were virtually identical to the terms proposed in late 2017, with one key exception: the Sponsors’

revised proposal to the Debtors’ lenders in September 2018 only required that the lenders

consent to the distribution of the MyTheresa Asset to NMG Parent or another similar “TopCo”

within the Neiman Marcus corporate structure, not to the Sponsors themselves.115

        Contemporaneous emails exchanged between Ares and Lazard, however, show that the

Sponsors’ revised proposal was merely a temporary concession offered to try to placate the


111
    ARES 0012869; see also ARES 0002819-20 (September 2018 email exchange between Ares and
Lazard discussing whether creditor consent was still necessary given that, in or around September 2018,
the Sponsors decided that MyTheresa would only be distributed to “Topco” at least for the time being).
112
    NMDEBTORS00148564 (September 20, 2017 email setting forth proposed timeline for closing of
amend-and-extend transaction).
113
    NMDEBTORS00041960-61; NMDEBTORS00042095-106 (August 2018 Lazard presentation
included in materials for August 16, 2018 meeting of NMG Parent’s board) at NMDEBTORS00042097.
114
    Id. at NMDEBTORS00042097-98.
115
    NMDEBTORS00042099; NMDEBTORS00042115-16; NMDEBTORS00042160-69                            (November
2018 Lazard presentation included with materials for November 1, 2018 meeting of board of NMG Parent)
at NMDEBTORS00042166.

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Debtors’ lenders. As stated by Ares in a September 13, 2018 email exchange with Lazard

regarding the modified term sheet:

           For the term sheet, I know this is a rough draft, but there’s a few things to
           flag:

           -   “All participating creditors would consent to a dividend of MyTheresa” I
               think we can delete since we are only distributing to Topco which is
               allowed. Even though we may potentially distribute to shareholders in the
               future, I don’t think consent now means anything116

In other words, regardless of the modifications to the Sponsors’ proposal to the Debtors’ lenders,

the Sponsors had not abandoned their plan to ultimately dividend the MyTheresa Asset to the

Sponsors.

         The Sponsors’ proposed restructuring – essentially, using the PropCo assets to fund new

debt and convince the Debtors’ creditors to “explicitly bless the dividend” of the MyTheresa

Asset (and retention of the full value of the MyTheresa Asset by NMG Parent and the Sponsors)

– was never completed.117 As described in a Lazard presentation to the board of NMG Parent on

January 31, 2019, the terms of the restructuring proposed by the Sponsors in 2017-2018 “were

blown out on November 30, 2018” (i.e., after the distribution of the MyTheresa Asset).118

      4. Step Four: The MyTheresa Distribution to NMG Parent in September 2018

         On September 14, 2018, NMG Parent and the Sponsors caused the Debtors to transfer the

MyTheresa Asset out of the Debtors’ ownership structure – for no consideration to the Debtors –

to NMG Parent (the “Distribution”). The assets transferred consisted of (i) all common and

preferred equity of Lux I, and (ii) NMG International’s interests in two notes owned by a


116
    ARES_0002819-20.
117
    ARES_0002819.
118
    NMDEBTORS00042464-66; NMDEBTORS00042617-26 (January 2019 Lazard presentation
included with materials for January 31, 2019 meeting of NMG Parent’s board) at NMDEBTORS00042620.

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subsidiary of Lux I with an aggregate principal amount of approximately $108 million

(collectively, the “MyTheresa Asset”). The Distribution was effectuated through a series of

equity distributions by which the MyTheresa Asset was upstreamed from NMG International,

through three Debtor entities, to non-Debtor NMG Parent, as depicted in the following graphic:




The distributions reflected above occurred simultaneously on September 14, 2018, pursuant to

written consents and related distribution agreements dated September 14, 2018, with the final

distribution made pursuant to a September 14, 2018 written consent by NMG Parent, as the sole

member of Holdings, directing that Holdings “declare and make a distribution to its members

[i.e., NMG Parent] of (i) all of the issued and outstanding capital stock of [Lux I], and (ii) all of

[Holdings’] interests in all indebtedness owed by Lux I or any of its subsidiaries to [Holdings] ...

which shall be distributed to the Member on or about September 14, 2018.”119


119
      NMDEBTORS00016119-154 at NMDEBTORS00016119-120.

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        The Distribution – in other words, the transfer of the MyTheresa Asset from the Debtors

to NMG Parent for no consideration whatsoever – was unanimously approved by the board of

NMG Parent on September 14, 2018.120 As with the first time the Sponsors’ scheme was

approved in March 2017, the Distribution was authorized and directed by the board of NMG

Parent on September 14, 2018 with no input from any independent counsel, advisors or other

representatives to advocate for the Debtors or their best interests. The September 14, 2018

meeting minutes reflect the following participants:

                The directors of NMG Parent designated by Ares (Kaplan, Gies and Axelrod),
                 designated by CPPIB (Eadie, Ruggiero and Aufreiter) or jointly designated by
                 both Sponsors (Bourguignon, Herrick and Katz).

                Additional individuals affiliated with Ares and CPPIB.

                Lazard and Moelis.

                Proskauer and Kirkland.

                The CEO of NMG Parent, who also was the final member of the board of NMG
                 Parent. While other officers who served both NMG Parent and the Debtors also
                 were present, those officers had no decision-making authority on the board.121

        The primary purpose served by the officers of NMG Parent present at the September 14,

2018 meeting – in particular, former Executive Vice President and Chief Financial Officer Adam

M. Orvos (“Orvos”) and former Senior Vice President and Chief Accounting Officer T. Dale

Stapleton (“Stapleton”) – was to address what was clearly the Directors’ main concern: whether

they would face liability for authorizing the Distribution while the Debtors were insolvent. In

particular, Orvos provided the board of NMG Parent with valuation analyses designed to support


120
    NMDEBTORS00046069-75 (September 14, 2018 minutes of NMG Parent                        meeting);
NMDEBTORS00016056-90 (September 14, 2018 meeting materials).
121
    NMDEBTORS00046069-75 (September 14, 2018 minutes of NMG Parent meeting).

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the decision the Sponsors already had made almost two years earlier, i.e., that the Debtors would

dividend the MyTheresa Asset out of the Debtors’ ownership.

        At the conclusion of the September 14, 2018 meeting, the board of directors of NMG

Parent unanimously resolved that it was “advisable and in the best interests of” NMG Parent to

cause the Debtors to distribute the MyTheresa Asset to NMG Parent.122

G. The Debtors’ Insolvency On and After the Date of the Distribution

        As set forth in the Shaked Report, Dr. Shaked has concluded, among other things, that:

                The Debtors were insolvent both before and after the Distribution of the
                 MyTheresa Asset to NMG Parent.
                The Debtors had an equity value of negative $1.198 billion as of March 14, 2017
                 (when MyTheresa was designated as an Unrestricted Subsidiary), an equity value
                 of negative $785 million on September 14, 2018 immediately prior to the
                 Distribution, and an equity value of negative $1.608 billion on September 14,
                 2018 immediately after the Distribution.
                The Debtors remained insolvent after the Distribution, through the Petition
                 Date.123

        Dr. Shaked’s conclusions regarding the Debtors’ insolvency reflect, among other things,

numerous adjustments required to correct inaccuracies in financial projections prepared by the

Debtors’ management.124 The Debtors’ management had a self-described “poor track record of

achieving financial plans and quarterly forecasts” causing them to “los[e] credibility with our

sponsors and creditors.”125 The Debtors identified their first “forecast accuracy” problem as “No




122
    NMDEBTORS00046073-74.
123
    Shaked Report at pg. 7.
124
    Shaked Report at pgs. 40-41, 55-56.
125
    NMDEBTORS00454394 at pg. 1.

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culture of forecast accuracy – ‘story we want’ vs ‘reality’, with no consequence for execution

errors.”126 Among other things, and as explained in extensive detail in the Shaked Report:

                In the 12 quarters prior to the designation of MyTheresa as an Unrestricted
                 Subsidiary, management overestimated quarterly revenue for every quarter, i.e.,
                 100% of the time.127

                In the five years prior to the Distribution, management overestimated annual
                 revenue by a median of 2.8%. Quarterly revenue was overestimated in 14 out of
                 the 18 quarters preceding the Distribution (or 78% of the time). Further,
                 management projected revenue growth of 7% annually from FY2013 to FY2018.
                 Actual revenue over that period only grew by 0.1% annually.128

                The Debtors’ historical EBITDA growth rate from FY2012 to FY2017 was
                 negative 10.8%. As of the Designation, however, from FY2017 to FY2026 the
                 Debtors’ management projected EBITDA to grow at a compound annual growth
                 rate of 13%. As of the Distribution, from FY2018 to FY2025 management
                 projected EBITDA to grow at a compound annual growth rate of 7.9%, while the
                 Debtors’ historical growth rate from FY2012 to FY2018 was negative 4.5%.129

                In April 2015 projections, the Debtors’ management projected that EBITDA
                 margin would improve from 14% in FY2015 to 14.3% in FY2016. Actual
                 EBITDA margin for FY2016, however, was 12%. Management also projected
                 EBITDA margins of 15.2% in FY2017 and 15% in FY2019. Actual EBITDA
                 margin was 9.4% in FY2017 and 10.1% in FY2018.130

        Dr. Shaked also analyzed the valuations that NMG Parent, the Sponsors and the Directors

used to “support” the Directors’ decision to approve the September 14, 2018 distribution, in

particular, the valuation memoranda prepared by Orvos (the former CFO of NMG Parent) and

provided to the board of NMG Parent as “support” for their conclusion that an appropriate



126
    NMDEBTORS00454394 at pg. 2.
127
    Shaked Report at pg. 40.
128
    Id.
129
    Shaked Report at pg. 55.
130
    Id.

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surplus was available to permit the distribution of the MyTheresa Asset under Delaware law. As

set forth above, Orvos has admitted that he is not a valuation expert, and further testified at his

deposition in this case that he has never been qualified as a valuation expert, has never submitted

a valuation report to any court, has never testified in court or at a deposition regarding the

valuation of an enterprise, has never written any articles on enterprise valuation, and has never

written – or even read – any books on enterprise valuation.131

        Gies, a partner in the Private Equity Group of Ares Management and an Ares-nominated

Director of NMG Parent since July 2016, has testified that the Sponsors and the board of NMG

Parent chose to use Orvos to perform the valuations of the Debtors because the Sponsors knew

that no outside firm would conclude that the Debtors were solvent as of September 2018.132




                                                                                                133




                                                      134



        As would be expected based on Orvos’ lack of qualifications, Dr. Shaked has identified

numerous errors in Orvos’ valuation memoranda, including the following: (i) Orvos relied

heavily on a September 6, 2018 report prepared by Duff & Phelps regarding the value of the


131
    07/02/20 Orvos Dep. Tr. at 45:6-46:13.
132
    07/10/20 Gies Dep. Tr. at 238:15-25; see also 07/13/20 Cowan Dep. Tr. at 275:6-277:6.
133
    See Exhibit F; Shaked Report at pg. 31.
134
    See ARES_0084659 (Ares Valuation as of September 30, 2018); Shaked Report at pgs. 173-75.

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Debtors’ assets, which Duff & Phelps itself explicitly stated could not be used as a solvency

opinion; (ii) the Duff & Phelps valuation itself was severely overstated because it relied on

management projections that were unreasonable and overly optimistic, unsupported by market

expectations, and not independently tested for reasonableness; and (iii) Orvos did not perform his

own independent valuation, and did not test the assumptions or analyses performed by Duff &

Phelps.

          In light of Dr. Shaked’s qualified, in-depth and reasoned analysis establishing that the

Debtors were insolvent at the time of the Distribution and remained insolvent thereafter, the

numerous errors identified in the valuation memoranda used to “support” the Distribution, the

admission that Orvos was selected to prepare the memoranda because no outside firm would lend

its name to a “solvency” valuation, and the fact that the Sponsors’ own internal valuations

corroborate the Debtors’ insolvency, the Estates can readily establish the Debtors’ insolvency at

the relevant times.

H. The Value of the MyTheresa Asset On and After the Date of the Distribution

          Dr. Shaked has concluded that the MyTheresa Asset was worth $822 million as of

September 14, 2018, when it was transferred to NMG Parent.135 The MyTheresa Asset continued

to appreciate in value, to $976 million as of May 7, 2020 (i.e., the Petition Date).136 Dr. Shaked

further has determined that the value of the MyTheresa Asset as of September 1, 2020 is $925

million.137




135
    Shaked Report at pg. 5.
136
    Id.
137
    Id.

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I. The Recapitalization in June 2019

          In early 2019, with the MyTheresa Asset having been transferred away from the Debtors,

the Sponsors began developing a new amend-and-extend proposal to restructure the Debtors’

term loan debt and noteholder obligations (the “Recapitalization”). Unlike the failed

restructuring efforts in 2017 and 2018, the Recapitalization required the Sponsors and NMG

Parent to forfeit a portion of the potential value of the MyTheresa Asset that was transferred

from the Debtors in 2018. The Recapitalization consisted of the following: (i) a series of

contributions of the MyTheresa Asset from NMG Parent to the MYT Entities, i.e., NMG

Parent’s new non-Debtor subsidiaries; (ii) the issuance of new 2L Notes (the “2L Notes”) in the

aggregate principal amount of $550 million to pay down the 2013 Term Loan; (iii) the exchange

of 91.5% of the aggregate principal amount of validly tendered Unsecured Notes for a

combination of new 3L Notes (the “3L Notes”) and certain rights in MYT Holding; and (iv)

extension and amendment of the 2013 Term Loan Credit Agreement.

      1. The Transfer of the MyTheresa Asset from NMG Parent to the MYT Entities

          In conjunction with the Recapitalization, on May 30, 2019, the board of NMG Parent

approved the contribution of the MyTheresa Asset from NMG Parent to the MYT Entities, which

were newly formed subsidiaries of NMG Parent.138 The contributions approved and directed by

the board of NMG Parent – specifically, the contribution of the MyTheresa Asset from NMG

Parent to MYT Parent, from MYT Parent to MYT Holding, from MYT Holding to MYT

Intermediate and, finally, from MYT Intermediate to DutchCo – were effectuated through a

series of contribution and exchange agreements executed in June and July 2019. The MYT

Entities are not responsible for any of the Debtors’ debt obligations, except as noted below.


138
      NMDEBTORS00015946-82 (May 30, 2019 omnibus written consent) at NMDEBTORS00015976-77.

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        The following graphic depicts the transfer of the MyTheresa Asset from NMG Parent to

DutchCo:




    2. Reorganization of the Debtors’ Term Loan and Unsecured Note Obligations

        a. The 2L Notes

        Through the Recapitalization, new 2L Notes were issued by the Debtors. In particular,

Debtors NMG LTD, NMG LLC, Mariposa Borrower, Inc., and The NMG Subsidiary LLC

(collectively, the “Notes Issuers”) issued $550 million aggregate principal amount of new 2L

Notes under that certain Indenture, dated June 7, 2019 (as amended, restated, amended and

restated, supplemented, or otherwise modified from time to time), with the Notes Issuers, as

issuers, Ankura Trust Company, LLC, as trustee and notes collateral agent, and certain of the


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Debtors as guarantors.139 The 2L Notes and related guarantees are secured by collateral that

includes, among other things, a senior secured guarantee of up to $200 million by MYT Holding,

MYT Intermediate, and DutchCo and a first priority pledge of the assets of such guarantors

subject to customary exceptions.140 Proceeds of the 2L Notes were used to repay a portion of the

2013 Term Loan held by participating lenders.

        b. The 3L Notes

        Further, through the Recapitalization, the Debtors exchanged most of their existing

Unsecured Notes for new secured 3L Notes, which had the effect of extending maturities by

three years, purportedly releasing any fraudulent conveyance claims related to the MyTheresa

Asset, and otherwise amending the existing Indentures.141 Holders of approximately 91.5% of

the aggregate principal amount of validly tendered Unsecured Notes consented to the exchange

(the “Consenting Noteholders”).142

        Through the exchange, the Notes Issuers issued: (i) approximately $730.5 million

aggregate principal amount of 8.000% 3L Notes under the Indenture, dated June 7, 2019 (as

amended, restated, amended and restated, supplemented, or otherwise modified from time to

time), with the Notes Issuers, as issuers, Wilmington Trust, National Association, as trustee and

notes collateral agent, and certain of the Debtors as guarantors,143 and (ii) approximately $497.8

139
    NMDEBTORS00026733 (Second Lien Indenture).
140
    NMDEBTORS00025639 (Guarantee and Collateral Agreement dated as of June 7, 2019 among MYT
Parent and Ankura Trust Company as Trustee and Collateral Agent); NMDEBTORS00049294
(Supplement One to Guarantee and Collateral Agreement).
141
    On June 6, 2019, the existing Unsecured Notes were amended. See NMDEBTORS00019164 (Second
Supplemental Indenture dated June 6, 2019 of Cash Pay Notes) and NMDEBTORS00019403 (Second
Supplemental Indenture dated June 6, 2019 of PIK Toggle Notes).
142
     NMDEBTORS00020072 (Cancellation of Certain 8% Senior Cash Pay Notes due 2021 issued by
NMG LTD and Mariposa Borrower, Inc. dated June 7, 2019); NMDEBTORS00020078 (Cancellation of
Certain 8.750%/9.500% Senior Cash Pay Notes due 2021 issued by NMG LTD and Mariposa Borrower,
Inc. dated June 7, 2019).
143
    NMDEBTORS00018401 (8% Third Lien Senior Secured Notes Indenture).

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million aggregate principal amount of 8.750% 3L Notes under the Indenture, dated June 7, 2019,

with the Notes Issuers, as issuers, Wilmington Trust, National Association, as trustee and notes

collateral agent, and certain of the Debtors as guarantors.144

        The 3L Notes are secured by certain collateral interests in varying priorities, but which, in

relevant part, include a first-priority pledge of fifty percent (50%) of the common equity interests

of MYT Holding.145

        In addition, the Consenting Noteholders received 250,000,000 shares of Series A

Preferred Stock of MYT Holding (the “MYT Series A Preferred Stock”), with an initial

liquidation preference of $1.00 per share.146

        c. The Loan Amendments

        As part of the Recapitalization, the 2013 Term Loan Credit Agreement was amended and

the maturity date was extended from 2021 to 2023. All but 0.5% of the aggregate principal

amount of the 2013 Term Loans (or $12.7 million) agreed to the extended term loan.147 In

exchange, the consenting term loan noteholders (the “Consenting Term Loan Lenders”) received

$526.9 million of pay down of the 2013 Term Loan (from the proceeds of the 2L Notes), plus

certain additional collateral. The Consenting Term Loan Lenders, however, do not have any

interest in the MyTheresa Asset or the MYT Entities.

        Finally, through the Recapitalization, the Debtors amended the ABL Credit Agreement

and entered into a third supplemental indenture with respect to the Debtors’ 2028 Debentures.




144
    NMDEBTORS00018696 (8.75% Third Lien Senior Secured Notes Indenture).
145
    NMDEBTORS00019450 (3L Notes Collateral Agreement dated as of June 7, 2019).
146
    NMDEBTORS00023238 (Distribution and Contribution Agreement dated June 6, 2019).
147
    NMDEBTORS00033659 (Extension Amendment and Amendment No. 2 to Credit Agreement dated
June 7, 2019).

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As to the latter, NMG Parent was removed as a guarantor in exchange for payment of $750,000

to the consenting holders of the 2028 Debentures.148

      3. The Transaction Support Agreement

         On March 25, 2019, the participants in the Recapitalization (including the Debtors)

entered into the TSA, which underpins the aforementioned transactions.149 The TSA contains

releases that became effective as of the consummation of the Recapitalization, and a Turnover

Provision (as defined below) by which the participants agreed that in the event that they (or their

successors and assignees) receive any funds, property, or value on account of claims or litigation

arising out of the Designation or the Distribution, they will turn over any such funds, property, or

value to NMG Parent, who is then required to distribute it pursuant to the MYT Waterfall

(as defined below). The TSA is governed by New York law and contemplates the remedy of

specific performance for breach.150

         a. The Release Provisions of the TSA

         Section 9.01 of the TSA provides a release to the Consenting Stakeholder Releasing

Parties (as identified below) by the “Company Releasing Parties” (i.e., NMG Parent and each of

its subsidiaries, including all of the Debtors and the MYT Entities) from all claims relating to,

among other things, the Recapitalization and the Distribution.151 Section 9.02 of the TSA

provides a mutual release to the Company Releasing Parties by the “Consenting Stakeholder




148
     NMDEBTORS00011713 (Fourth Amendment to Revolving Credit Agreement dated June 7, 2019);
NMDEBTORS00000101 (Third Supplemental Indenture to 2028 Debentures dated June 7, 2019).
149
    The parties to the TSA include NMG Parent, all of the Neiman Marcus subsidiaries, the Sponsors, the
consenting Term Loan Lenders, and the Consenting Noteholders. ARES_0017953-18122 (TSA).
150
    ARES_0017953 (TSA at Sections 14.05, 14.16).
151
    ARES_0017953 (TSA at Section 9.01).

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Releasing Parties” (i.e., the Sponsors, Consenting Term Loan Lenders, and Consenting

Noteholders).152

          b. The Turnover Provision of the TSA

          The “Turnover Provision” is section 9.06(a) of the TSA.         The “Releasing Parties”

covered by the Turnover Provision consist of the Consenting Stakeholder Releasing Parties and

the Company Releasing Parties. The Turnover Provision provides as follows:

            (a) Subject to the occurrence of the Effective Date, in the event that any
            Releasing Party (including any successor or assignee thereof) receives any
            funds, property, or value on account of any Claims, Causes of Action, or
            litigation against NMG or the MT Entities (or any direct or indirect parent
            company of such entities) arising from the MyTheresa Designation or the
            MyTheresa Distribution (collectively, the “Specified Claims”), such Releasing
            Party shall promptly turn over and assign any such funds, property, or value
            (including any Equity Interests in any of the MT Entities or proceeds of such
            Equity Interests, or any increased recoveries resulting therefrom) to, at the
            election of NMG [Parent], NMG [Parent] or the applicable MyTheresa Entity.
            NMG [Parent] or the applicable MyTheresa Entity shall distribute any such
            recoveries turned over or assigned to it in accordance with the “Distributions
            upon Realization of Value” provision of Exhibit 4 to the Recapitalization
            Term Sheet, to the extent applicable. Notwithstanding anything to the
            contrary in this Agreement (but subject to Section 9.06(b) of this Agreement),
            NMG [Parent] shall be entitled to enforce this Section 9.06(a) on behalf of
            itself or any MyTheresa Entity. The Releasing Parties will be bound by this
            Section 9.06 notwithstanding the nature of any Claim, Cause of Action, or
            litigation relating to the Recapitalization Transactions or any judgment or
            order entered on any such Claim, Cause of Action or litigation.153

          c. The MYT Waterfall

          Whether proceeds from the MyTheresa Asset are distributed pursuant to the Turnover

Provision, or in the normal course (in the event the Distribution is not avoided), the value is

required to flow in accordance with the “MYT Waterfall” as follows: the first $200 million of

value is allocated to the holders of the 2L Notes in respect of their limited guarantee; the next

152
      ARES_0017953 (TSA at Section 9.02).
153
      ARES_0017953 (TSA at Section 9.06(a)).

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Ontario, Canada. The Committee is informed that CPPIB reached out to Nishi, who no longer

works for CPPIB, but Nishi refused to voluntarily be deposed.

           IV. LEGAL ANALYSIS OF THE ESTATES’ LITIGATION CLAIMS

A. The Distribution is a Constructive and Actual Fraudulent Transfer, and the MyTheresa
   Asset (or Its Value) Can Be Recovered by the Debtors’ Estates

      1. The Distribution is an Avoidable Constructive Fraudulent Transfer

         Section 548(a)(1)(B) of the Bankruptcy Code provides for the avoidance of any transfer

made or obligation incurred by the debtor if the debtor received less than reasonably equivalent

value in exchange, and any one of the following three circumstances apply: (i) the debtor was

insolvent or was rendered insolvent as a result of the transfer or obligation; (ii) the debtor was

engaged in business or a transaction, or was about to engage in business or a transaction, with

unreasonably small capital; or (iii) the debtor intended to incur, or believed that it would incur,

debts beyond its ability to pay as such debts became due.157

         a. The Debtors Did Not Receive Reasonably Equivalent Value (or Any Value at
            All) in Exchange for the Distribution of the MyTheresa Asset

             1) The Debtors Did Not Receive Any Consideration in Exchange for the
                Distribution in September 2018

         Under section 548(a)(1)(B) of the Bankruptcy Code, a plaintiff must show that the debtor

received less than “reasonably equivalent value” in exchange for the transfer. The Bankruptcy

Code does not define “reasonably equivalent value.” See, e.g., Mellon Bank, N.A. v. Official

Comm. of Unsecured Creditors of R.M.L., Inc. (In re R.M.L.), 92 F.3d 139, 148 (3d Cir. 1996).


157
   Fraudulent transfer claims may be asserted in bankruptcy under: (i) section 548(a) of the Bankruptcy
Code, which is subject to a two-year reach back period; and/or (ii) section 544(b) of the Bankruptcy
Code, which permits avoidance of any transfer that would have been avoidable by any of the debtor’s
unsecured creditors under applicable state law as of the petition date. This section of the Report focuses
on the Debtors’ fraudulent transfer claims under section 548(a) of the Bankruptcy Code because the
transfer that gives rise to the most viable (and valuable) fraudulent transfer claims in this case – namely,
the Distribution in September 2018 – occurred within two years of the Petition Date.

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In the absence of a statutory definition, courts have divided the inquiry into two parts: first, the

court must determine whether the debtor received any “value” in the transaction; and second, the

court must determine whether any value received was “reasonably equivalent” to what the debtor

transferred. Id. at 149.

        Here, the Distribution was made without any consideration to the Debtors, and the

Debtors have conceded as much. See Docket No. 960 at ¶ 5 (objection filed by Debtors stating:

“The Debtors believe that the issues are narrow and largely turn on solvency and the extent to

which any recoveries on litigation claims would benefit unsecured creditors. If the relevant

Debtors were insolvent at the time of the MyTheresa distribution, the distribution was a

constructive fraudulent transfer and the analysis turns to the impact of that finding on unsecured

creditor recoveries.”). The September 14, 2018 distribution agreements and related documents

reflect that each sequential equity distribution of the MyTheresa Asset was made as an equity

distribution to members, akin to a dividend to shareholders, with nothing provided to the Debtors

in return. Hence, there can be no legitimate dispute that the Debtors did not receive reasonably

equivalent value for the Distribution.

             2) The Litigation Targets Are Not Entitled to “Credit” Based Upon the
                Subsequent Recapitalization

        An argument by the Litigation Targets that the Debtors received “value” in exchange for

the Distribution in the subsequent Recapitalization, in which (months later) a portion of the

future value that might be generated from the MyTheresa Asset was forfeited by NMG Parent

and/or Sponsors, will likely fail. The two most likely arguments in support of that position – that

the Litigation Targets should get credit for property “subsequently returned” to the estates or that

the “collapsing doctrine” should apply – do not withstand scrutiny.



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                 a) The Litigation Targets Did Not Return the MyTheresa Asset to the
                    Debtors

        The Litigation Targets are not entitled to “credit” for any benefit that the estates may

have indirectly realized in the subsequent Recapitalization. No portion of the MyTheresa Asset

was returned to the Debtors through the Recapitalization or otherwise. Rather, a portion of the

recoveries that may be realized from the MyTheresa Asset was made available to a subset of

consenting creditors pursuant to the MYT Waterfall. While the actual return of a fraudulently

transferred asset to the transferor may preclude an action to avoid the transfer of the returned

asset, the mere subsequent use of the transferred property (or a portion of it) in a manner that

indirectly benefits the transferor does not.

        The issue of “credits” to a transferee of a fraudulent transfer for any value given short of

returning the transferred asset is specifically addressed in section 548(c) of the Bankruptcy Code.

Section 548(c) imposes two requirements for any such credit, neither of which is satisfied here.

First, the transferee must “take[] for value;” and any credit is “to the extent that such transferee

... gave value to the debtor in exchange for such transfer ...” 11 U.S.C. § 548(c) (emphasis

added). Here, the transferees “took” for nothing – no value was given to the Debtors in exchange

for the transfer of the MyTheresa Asset. Second, the transferee must take in “good faith;” and, as

the evidence discussed herein shows, the transferees cannot meet their burden of showing their

“good faith” – or even make a facially credible argument that they took in “good faith.”

        Unless a transferee satisfies the two statutory requirements for any “credit” specified in

section 548(c), fraudulently transferred property actually must be returned to the transferor for

the transferee to receive credit. The holding of the Seventh Circuit in Nostalgia Network, Inc. v.

Lockwood, 315 F.3d 717 (7th Cir. 2002) in this regard is instructive. In Nostalgia Network, the

Seventh Circuit held that the use by a transferee of a fraudulently transferred asset for the benefit

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of the transferor is not equivalent to returning the asset to the transferor, and does not entitle the

transferee to “credit” in a fraudulent transfer action. The Seventh Circuit held that the judgment

creditor could void a transfer even though the transferee “used much, maybe most, of the

[transferred] money” for the transferor’s “personal and business expenses.” Id. at 719-20.

Likewise, in this case, there are no grounds for providing any “credit” to the transferees as the

MyTheresa Asset remains transferred and has not been returned to the Estates.

        The Fifth Circuit discussed Nostalgia Network in Whitlock v. Lowe (In re DeBerry), 945

F.3d 943 (5th Cir. 2019). In DeBerry, the Fifth Circuit considered the actual return of transferred

property and held that transferred property that has actually been returned to the debtor is not

recoverable under section 550(a):

           Obtaining a duplicate of something is not getting it back; it’s getting a
           windfall. Property that has already been returned cannot be “recovered” in
           any meaningful sense. . . . Once the fraudulently transferred property has been
           returned, the bankruptcy trustee cannot “recover” it again using §550(a).

Id. at 947. The Fifth Circuit distinguished Nostalgia Network on the grounds that its case did not

involve the return of fraudulently transferred property to the transferor, as follows:

           There is a distinction between a transferee who retains legal title while
           voluntarily using the property for the debtor’s benefit, and a transferee who
           has completely returned the property to the debtor. We are presented only
           with the second scenario; we need not consider the first. Nostalgia Network is
           irrelevant.

Id. at 948.

        Similarly, in Finkel v. Polichuk (In re Polichuk), 506 B.R. 405 (Bankr. E.D. Pa. 2014),

the bankruptcy court determined that “there is no right to set aside a fraudulent transfer under

PUFTA if the transferee returns the property to the transferor.” Id. at 435. The court reasoned

that the estate is not depleted when the transferred property is actually returned to the estate. Id.



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(“If the estate already has recovered the property (or its value), what reason is there for the

trustee . . . to obtain any further remedy?”).

        Applying these authorities to the facts at hand, the MyTheresa Asset was transferred to

NMG Parent and then to the MYT Entities. The MyTheresa Asset remains “transferred” – in

other words, the Debtors have not received any of the MyTheresa Asset back. As the Fifth

Circuit stated in DeBerry, “[t]here is a distinction between a transferee who retains legal title

while voluntarily using the property for the debtor’s benefit, and a transferee who has completely

returned the property to the debtor.” 945 F.3d at 948. Here, NMG Parent’s voluntary forfeiture

of some of the potential proceeds from the MyTheresa Asset to certain creditors through the

Recapitalization and the MYT Waterfall – namely, holders of 2L Notes and 3L Notes – does not

change the fact that the MyTheresa Asset has not been returned to the Debtors. Further, avoiding

the Distribution of the MyTheresa Asset would not result in a “double recovery” or windfall to

the Estates. The Estates would simply recover the MyTheresa Asset (or the value thereof) to the

extent permitted by section 550 of the Bankruptcy Code.

                 b) The Collapsing Doctrine Is Inapplicable

        Particularly in the leveraged buyout context, many courts have held that a coordinated,

multi-step transaction involving several phases of transfers may be “collapsed” and treated as a

single integrated transfer for purposes of evaluating a fraudulent conveyance claim. Here, an

argument by the Litigation Targets that the Distribution and Recapitalization should be

“collapsed” into a single transaction cannot succeed.

        The collapsing doctrine treats multiple transfers that are part of a single, integrated

transaction as one unified transaction. United States v. Tabor Ct. Realty Corp., 803 F.2d 1288,

1302-03 (3d Cir. 1986); Orr v. Kinderhill Corp., 991 F.2d 31, 35 (2d Cir. 1993) (“[A]n allegedly

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fraudulent conveyance must be evaluated in context; ‘[w]here a transfer is only a step in a

general plan, the plan ‘must be viewed as a whole with all its composite implications.’’”)

(citations omitted); Official Comm. v. JP Morgan Chase Bank, N.A. (In re M. Fabrikant & Sons,

Inc.), 394 B.R. 721, 731 (Bankr. S.D.N.Y. 2008) (“[u]nder appropriate circumstances, multiple

transactions will be collapsed and treated as steps in a single transaction for analysis under the

fraudulent conveyance laws”) (citations omitted).

        In determining whether to collapse multiple transfers into one transaction, courts consider

the following three factors: (i) whether all the parties involved had knowledge of the multiple

transactions; (ii) whether each transaction would have occurred on its own; and (iii) whether

each transaction was dependent or conditioned on other transactions.         See, e.g., Buchwald

Capital Advisors, LLC v. JPMorgan Chase Bank, N.A. (In re M. Fabrikant & Sons, Inc.), 447

B.R. 170, 187 (Bankr. S.D.N.Y. 2011), aff’d, 541 Fed. Appx. 55 (2d Cir. 2013) (“In assessing a

collapsing claim, a court must focus on the interdependence of the multiple transactions and

whether the participants knew or should have known that no transaction would occur unless all

of the other transactions occurred.”).

        Here, there is no basis to collapse the Distribution and the Recapitalization.         The

Distribution was a stand-alone transaction that was not dependent on the Recapitalization, and

was not undertaken “in contemplation” of the Recapitalization. As discussed above, the evidence

establishes that, at all times through (and even after) the date of the Distribution, the Sponsors

and NMG Parent planned to retain all of the value of the MyTheresa Asset for themselves. While

the Distribution was mentioned in the Sponsors’ 2017-2018 restructuring proposals, it was not an

asset to be used in any contemplated restructuring – it was referenced in the materials only

because the Sponsors and NMG Parent were asking the Debtors’ lenders to “explicitly bless”

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their misappropriation of the MyTheresa Asset, without the use of any of its value for the

Debtors’ benefit. Furthermore, the terms of the Sponsors’ 2017-2018 restructuring proposals

were “blown out” in November 2018, months after the Distribution was completed in September

2018. In other words, the Distribution was a transaction undertaken to benefit the Sponsors and

NMG Parent, and it was a transaction that “would have occurred” – and, in fact, did occur – “on

its own” regardless of any restructuring. The Recapitalization in 2019, in which the Sponsors

and NMG Parent later agreed to forfeit a portion of the value of the MyTheresa Asset, was not

contemplated at the time of the Distribution and certainly was not an integral part of the

Distribution. Therefore, the Distribution and the Recapitalization were two separate transactions

that should not be collapsed or treated as one integrated transaction.

        b. The Debtors Were Insolvent at the Time of the Distribution and Remained
           Insolvent Thereafter

        In addition to a lack of reasonably equivalent value, a successful constructive fraudulent

transfer claim requires the plaintiff to prove that, at the time of the challenged transaction, the

debtor was in (or was left in) one of three states of financial distress – namely, (i) insolvency, (ii)

possessing unreasonably small capital or (iii) intending to or believing that it would incur debts

beyond its ability to repay.      Here, as discussed below, the Distribution is avoidable as a

constructively fraudulent transfer because the Debtors were insolvent at the time of the

Distribution, and remained insolvent at all times thereafter.

        The term “insolvent” is defined in the Bankruptcy Code as the “financial condition such

that the sum of such entity’s debts is greater than all of such entity’s property, at a fair valuation .

. . .” 11 U.S.C. § 101(32)(A). “Fair valuation” for an operating company is based on a “going

concern” or “market price” valuation. In re PWS Holding Corp., 228 F.3d 224, 233 (3d Cir.



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2000). Courts generally look at a combination of valuation methodologies to determine “fair

valuation,” commonly looking to a discounted cash flow and a market multiple/comparable

company approach to assess a business enterprise valuation of a going concern. Id.; MFS/Sun

Life Trust-High Yield Series v. Van Dusen Airport Servs. Co., 910 F. Supp. 913, 939-43

(S.D.N.Y. 1995) (asset purchase price, discounted cash flow, comparable transactions); In re

Zenith Elecs. Corp., 241 B.R. 92, 104 (Bankr. D. Del. 1999) (discounted cash flow).

           Here, as discussed at length in Section III.G of this Report, the Estates can readily

establish the Debtors’ insolvency at the relevant times. As set forth in the Shaked Report, Dr.

Shaked utilized both the discounted cash flow and comparable company methodologies to

determine the Debtors’ equity value at the relevant times. Based on the extensive analysis set

forth in the Shaked Report, Dr. Shaked has concluded, among other things, that: (i) the Debtors

were insolvent both before and after the Distribution of the MyTheresa Asset to NMG Parent,

and remained insolvent after the Distribution; (ii) the Debtors had an equity value of negative

$1.198 billion in March 2017, an equity value of negative $785 million in September 2018 prior

to the Distribution, and an equity value of negative $1.608 billion in September 2018 after the

Distribution; and (iii) the Debtors remained insolvent through the Petition Date.158

       2. The Distribution Should Be Avoided as an Actual Fraudulent Transfer

           An actual fraudulent transfer claim under section 548(a)(1)(A) of the Bankruptcy Code

requires proof that a debtor transferred its property with the intent to “hinder, delay, or defraud”

its creditors. The three alternatives of actual intent (hinder, or delay, or defraud) are to be read

disjunctively. Thus, only one of the three needs be proven to prevail. See, e.g., Wiggains v.

Reed (In re Wiggains), 848 F.3d 655, 661 (5th Cir. 2017) (“We find relevant meaning in the fact

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      Shaked Report at pgs. 5, 7.

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that the phrase is stated in the disjunctive, which signifies that an intent to hinder or to delay or to

defraud is sufficient.”).

        While normally it is the debtor/transferor’s intent that is scrutinized under section

548(a)(1)(A), the intent of a transferee can be imputed to the debtor/transferor in certain

circumstances. For instance, courts have recognized that “when a transferee is in a position to

dominate or control the debtor’s disposition of the property, the transferee’s intent to hinder,

delay, or defraud will be imputed to the debtor/transferor.” ASARCO LLC v. Americas Mining

Corp., 396 B.R. 278, 369 (S.D. Tex. 2008). Under this rule, “the requisite intent derives from a

transferee who is in the position to dominate or control the debtor’s disposition of his property ....”

Jackson v. Mishkin (In re Adler, Coleman Clearing Corp.), 263 B.R. 406, 445 (S.D.N.Y. 2001).

To invoke the “control rule,” a plaintiff must allege: (i) the controlling transferee possessed the

requisite intent to hinder, delay, or defraud the debtor’s creditors; (ii) the transferee was in a

position to dominate or control; and (iii) the domination and control related to the debtor’s

disposition of the property. ASARCO, 396 B.R. at 369-70. “In the typical case, the controlling

transferee stands either to gain directly or to confer benefits upon others by securing possession

of the property and keeping it out of the reach of creditors.” In re Adler, 263 B.R. at 445.

        Because actual fraudulent intent is often – albeit not in this case – difficult to prove with

direct evidence (e.g., an explicit confession of fraudulent intent), courts have adopted various

methods by which intent to hinder, delay, or defraud will be inferred, which are met in this case,

as outlined below.

        Intending the Natural Consequences of One’s Actions. Courts have held that a

debtor/transferor need not have actually intended for its creditors to be injured in order to have

the requisite “intent” to make an actual fraudulent transfer. Rather, many courts hold that the

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“intent” requirement is satisfied if the “natural consequences” of the debtor’s intentional actions

were to hinder, delay, or defraud creditors. See, e.g., ASARCO, 396 B.R. at 387. According to

Section 8A of the Restatement (Second) of Torts, “[t]he word ‘intent’ is used ... to denote that

the actor desires to cause consequences of his act, or that he believes that the consequences are

substantially certain to result from it.” The comments to this section state that, “[i]f the actor

knows that the consequences are certain, or substantially certain, to result from his act, and still

goes ahead, he is treated by the law as if he had in fact desired to produce the result.”

        Inferring Intent Based upon Badges of Fraud. Proof of actual intent to “hinder, delay,

or defraud” creditors may be shown through reliance upon recognized indicia or “badges of

fraud.” Soza v. Hill (In re Soza), 542 F.3d 1060, 1067 (5th Cir. 2008). The Fifth Circuit has

identified the following various badges of fraud that tend to evidence a transfer made with an

intent to hinder, delay or defraud under section 548(a) of the Bankruptcy Code:

                the lack or inadequacy of consideration;

                the family, friendship or close associate relationship between the parties;

                the retention of possession, benefit or use of the property in question;

                the financial condition of the party sought to be charged both before and after the
                 transaction in question – in short, the insolvency or precarious financial condition
                 of the debtor-transferor;

                the existence or cumulative effect of the pattern or series of transactions or course
                 of conduct after the incurring of debt, onset of financial difficulties, or pendency
                 or threat of suits by creditors; and

                the general chronology of events and transactions under inquiry.




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Id. (citing Chastant v. Chastant (In re Chastant), 873 F.2d 89, 91 (5th Cir. 1989)). The Fifth

Circuit noted that “[n]ot all, or even a majority, of the ‘badges of fraud’ must exist to find actual

fraud.” Id.

        In most cases, direct evidence of fraudulent intent is difficult to obtain; however it exists

here. The Distribution was effectuated for the express purpose of stripping the Debtors of a

valuable asset and moving that asset into a separate silo that was designed to immunize it from

the claims of the Debtors’ creditors, for the sole benefit of NMG Parent and the Sponsors. As

described by Lazard, the goal of the MyTheresa-related transactions was to move “certain assets

with strategic value ... outside of the loan party group” in order to “maximize the long-term value

... for the Sponsors.”159 The fraudulent intent of the Sponsors, acting through their hand-selected

Directors, and NMG Parent is imputed to the Debtors because the Sponsors and NMG Parent

dominated and controlled the Debtors, and orchestrated every aspect of the fraudulent transfer.160

        There is also ample indirect evidence of fraudulent intent and multiple badges of fraud.

In approving and effectuating the Distribution, the NMG Board was presented with various

alternatives, including the option of paying fair value for the MyTheresa Asset, but chose to

upstream the asset for no consideration. The natural consequence of the Distribution was to

remove an asset from the reach of the Debtors’ creditors. Hence, the natural and inevitable result

of the Distribution was to hinder and delay the ability of the Debtors’ creditors to recover on

their claims.


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    The fraudulent intent of the Sponsor-controlled board of NMG Parent also is imputed to NMG Parent
itself. The fraud of a director is imputed to a corporation when the director’s fraudulent conduct was in
the course of his employment, and for the benefit of the corporation. Stewart v. Wilmington Tr. SP Servs.,
Inc., 112 A.3d 271, 302-03 (Del. 2015) (it is “[a] basic tenet of [Delaware] corporate law, derived from
principles of agency law ... that the knowledge and actions of the corporation’s officers and directors,
acting within the scope of their authority, are imputed to the corporation itself.”).

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        The Distribution also exhibits multiple badges of fraud:

                the lack or inadequacy of consideration (There was no consideration);

                the close relationship between the parties (NMG Parent, the Sponsors, and the
                 Sponsor-selected Directors owned or controlled (as the case may be) the
                 Debtors, and caused the Distribution to take place at the behest of the
                 Sponsors);

                insolvency (The Debtors were insolvent both before and after the Distribution);
                 and

                the general chronology of events and transactions under inquiry (From 2016 to
                 the date of the Distribution, certain tranches of the Debtors’ debt were trading
                 at a significant discount to carrying value, and the Debtors’ credit rating had
                 been downgraded; the Sponsors had substantially written down the value of
                 their investment at the time the Sponsors decided to grab the MyTheresa Asset
                 and put it beyond the reach of the Debtors’ creditors; and maturities on the
                 Debtors’ LBO debt were looming at the time of the Distribution).

        Therefore, the Estates will be able to establish that the Distribution was an actual

fraudulent transfer under 11 U.S.C. § 548(a).

    3. The Litigation Targets Have No Valid Defenses to the Avoidance and Recovery of
       the Distribution

        a. The Litigation Targets Cannot Establish a “Good Faith” Defense Under 11
           U.S.C. § 548(c)

        Fraudulent transfer claims under section 548(a) of the Bankruptcy Code are subject to an

affirmative defense for transferees who take for value and in good faith. 11 U.S.C. § 548(c).

Here, the transferees took for nothing and gave nothing “in exchange for” the transfer of the

MyTheresa Asset.




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          With respect to the “good faith” requirement, the Fifth Circuit considers whether the

transferee was on notice of the debtor’s insolvency or the fraudulent nature of the transaction. As

set forth in Templeton v. O’Cheskey (In re Am. Hous. Found.), 785 F.3d 143, 164 (5th Cir. 2015):

            The good faith test under Section 548(c) is generally presented as a two-step
            inquiry. The first question typically posed is whether the transferee had
            information that put it on inquiry notice that the transferor was insolvent or
            that the transfer might be made with a fraudulent purpose. While the cases
            frequently cite either fraud or insolvency, these two elements are consistently
            identified as the triggers for inquiry notice. The fraud or insolvency predicate
            is set forth in countless cases ... .

            ... The weight of the authority ... indicates that a court should focus on the
            circumstances specific to the transfer at issue – that is, whether a transferee
            reasonably should have known ... of the fraudulent intent underlying the
            transfer.

            Once a transferee has been put on inquiry notice of either the transferor’s
            possible insolvency or of the possibly fraudulent purpose of the transfer, the
            transferee must satisfy a “diligent investigation” requirement.

Id. (citations omitted).

          As set forth above, NMG Parent and the MYT Entities did not take the MyTheresa Asset

for value or in good faith. NMG Parent was well aware of the Debtors’ financial difficulties –

indeed, it is reasonable to infer that the Distribution was prompted by that awareness – and its

knowledge should be imputed to the wholly-owned shell entities it created to hold the

fraudulently-transferred MyTheresa Asset. Further, the purpose of the Distribution was described

as “removing assets with long-term growth potential from the loan party group” “in order to

maximize the Sponsors’ strategic flexibility or cash proceeds from a subsequent sale,” and the

fraudulent transfer and breach of fiduciary duty risks associated with the Distribution were

clearly identified.161 Hence, NMG Parent did not innocently receive the MyTheresa Asset in


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      See, e.g., Sections III.E-G, supra.

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good faith, nor did the MYT Entities, and there is no valid defense to the avoidance and recovery

of the MyTheresa Asset (or its value) on “good faith” grounds.

        b. Any Purported Prepetition Release of the Debtors’ Fraudulent Transfer Claims
           Is Not Binding on the Estates

        The TSA contains releases by the Debtors in favor of NMG Parent, the Sponsors and

affiliated parties of claims arising out of the Distribution. Those releases are not an impediment

to the avoidance and recovery of the MyTheresa Asset (or its value) because a prepetition release

of avoidance claims is not binding on an estate representative asserting such claims.

        This issue was addressed in PAH Litig. Trust v. Water St. Healthcare Partners L.P. (In re

Physiotherapy Holdings, Inc.), 2017 U.S. Dist. LEXIS 209723, *32-34 (D. Del. Dec. 21, 2017).

In Physiotherapy Holdings, the district court affirmed the bankruptcy court’s holding that a

prepetition release of avoidance actions, was not binding on a bankruptcy trustee. This decision

distinguished between two categories of actions – those brought as a successor in interest to the

prepetition debtor, and those established by the Bankruptcy Code, as follows:

           [T]he Third Circuit noted that actions that may be pursued by bankruptcy
           trustees generally fall into two categories: “(1) those brought by the trustee as
           successor to the debtor’s interest included in the estate under Section 541, and
           (2) those brought under one or more of the trustee’s avoiding powers.”
           Official Comm. of Unsecured Creditors v. R.F. Lafferty & Co., 267 F.3d 340,
           356 (3d Cir. 2001).
           ...

           Claims that the Bankruptcy Code authorizes a trustee to assert on behalf of
           creditors, which are largely avoidance actions brought pursuant to sections
           544, 547, and 548 of the Bankruptcy Code, are “creditor actions.” The power
           to pursue such claims, as exercised by an estate representative, “relate[s] to
           the trustee’s power to resist pre-bankruptcy transfers of property.” Id. The
           Third Circuit has held that for purposes of section 548 avoidance actions, the
           trustee does not stand in the shoes of the debtor, as such claims are not
           “derivative of the bankrupt.” Hays & Co. v. Merrill Lynch, Pierce, Fenner &
           Smith, Inc., 885 F.2d 1149 (3d Cir. 1989) (holding claims under § 548 are
           “creditor claims” and “there is no justification for binding creditors to [an

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           agreement’s arbitration provision] with respect to claims that are not
           derivative from the party to it”); see also McNamara v. PFS (In re Personal &
           Bus. Ins. Agency), 334 F.3d 239, 245 (3d Cir. 2003) (“The Lafferty Court
           made clear that its holding did not extend to actions brought under Code
           sections other than [section] 541”).

Physiotherapy Holdings, 2017 U.S. Dist. LEXIS 209723 at *32-34.

          Likewise here, the avoidance claims related to the Distribution would be “creditor

actions” brought pursuant to section 548 of the Bankruptcy Code. In pursuing those claims, the

Estates would not “stand in the shoes” of the Debtors, and thus the Debtors’ prepetition releases

would not be binding on the Estates and would not preclude the Estates from prosecuting the

claims.

    4. The MyTheresa Asset (or Its Value) Can Be Recovered from NMG Parent, the
       MYT Entities and/or the Sponsors Pursuant to 11 U.S.C. § 550

          a. The MyTheresa Asset (or Its Value) Is Recoverable from NMG Parent, the MYT
             Entities, and/or the Sponsors

          Pursuant to section 550 of the Bankruptcy Code, upon avoidance of a transfer, an estate

representative “may recover, for the benefit of the estate, the property transferred, or, if the court

so orders, the value of such property” from (i) the initial transferee or the entity for whose benefit

the transfer was made, or (ii) any immediate or mediate transferee of such initial transferee. 11

U.S.C. § 550.

             1) NMG Parent and the MYT Entities Were Transferees of the MyTheresa
                Asset

          Here, NMG Parent is the initial non-Debtor transferee of the MyTheresa Asset. NMG

Parent subsequently transferred the MyTheresa Asset to MYT Parent and its subsidiaries. The

last transferee of the MyTheresa Asset is DutchCo, an indirect subsidiary of NMG Parent. The

value of the MyTheresa Asset can be recovered from NMG Parent or any of the MYT Entities as

initial and subsequent transferees, respectively. As to any argument that DutchCo may be a


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necessary or indispensable party to any litigation to recover the MyTheresa Asset itself, the

better view is that it is not because it is an indirect subsidiary of NMG Parent that is ultimately

controlled by NMG Parent.162 Thus, without joining DutchCo, the Estates should be entitled to

seek injunctive relief compelling NMG Parent to cause the MyTheresa Asset to be returned to

the Estates once the Distribution is avoided.

             2) The Sponsors are Entities for Whose Benefit the Transfer was Made

        Section 550(a)(1) of the Bankruptcy Code provides that the value of fraudulently

transferred property may be recovered from “the initial transferee of such transfer or the entity

for whose benefit such transfer was made.” 11 U.S.C. § 550(a)(1) (emphasis added). While a

guarantor of a creditor who receives an avoidable preference is the paradigmatic entity for whose

benefit an avoidable transfer is made as it “receives the benefit but not the money,” guarantors

are not the only beneficiaries contemplated by section 550(a)(1).163

        Controlling shareholders, such as the Sponsors, have been found to be beneficiary

entities for whose benefit a transfer was made.           See, e.g., AKH Co., Inc. v. Universal

Underwriters Ins. Co., 428 F. Supp. 3d 536, 589 (D. Kan. 2019) (finding, on summary judgment

on a UFTA claim, that a reasonable jury could conclude that defendants benefitted from transfers

they directed to be made from a company they wholly owned to other entities they wholly

owned); Geltzer v. Salzman (In re ContinuityX, Inc.), 582 B.R. 124, 137-38 (Bankr. S.D.N.Y.

2018) (denying defendant’s motion to dismiss and finding trustee adequately plead a fraudulent

transfer claim against the sole shareholder of a transferee as an “entity for whose benefit a


162
    See Biliouris v. Sundance Res., Inc., 559 F. Supp. 2d 733, 736, n.2 (N.D. Tex. 2008) (recipient of
allegedly fraudulent transfer not an indispensable party where other recipients remain in the action).
163
    Bonded Fin. Servs. v. European Am. Bank, 838 F.2d 890, 895 (7th Cir. 1988). See also Gouveia v.
Cahillane (In re Cahillane), 408 B.R. 175, 205 (Bankr. N.D. Ind. 2009) (paradigm denotes only an
outstandingly clear example, and not the entire universe of possibilities of beneficiary transferees).

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transfer was made” within the meaning of § 550(a)); West v. Hsu (In re Adv. Modular Power

Sys., Inc.), 413 B.R. 643, 678 (Bankr. S.D. Tex. 2009) aff’d sub nom. Hsu v. West, 2009 U.S.

Dist. LEXIS 126843 (S.D. Tex. Dec. 30, 2009) (finding defendants, including the owners of the

transferee, to be jointly and severally liable for a fraudulent transfer to the transferee).

        While the Fifth Circuit recognizes that shareholder status, alone, does not make a

defendant a transferee beneficiary under section 550(a)(1),164 the Fifth Circuit has also

recognized that shareholders may be held liable as beneficiaries for whose benefit a transfer was

made where, inter alia, (i) they assented to and benefitted from the transfers and knowingly

participated in the wrongdoing, or (ii) where the shareholders were actually involved with the

transfer. Id. (citing Esse v. Empire Energy III, Ltd., 333 S.W.3d 166, 174 (Tex. App. 2010)165

and Citizens National Bank of Texas v. NXS Construction, Inc., 387 S.W.3d 74, 85 (Tex. App.

2012)).166

        Here, the Sponsors controlled, engineered, and knowingly participated in the fraudulent

transfer with the acknowledged purpose of benefitting themselves and placing the MyTheresa

164
    See Janvey v. Libyan Inv. Auth., 840 F.3d 248, 266 (5th Cir. 2016) (“Nothing in § 550(a)(1) of the
Bankruptcy Code indicates that corporate form can be thrust aside and all voidable transfers to a
corporation recovered from its shareholders on the mere assumption that shareholders somehow
automatically ‘benefit’ from such transfers.”).
165
     The Esse v. Empire Energy decision affirmed the judgment of the trial court and found that
shareholders of transferees that “assented to and benefited from” allegedly fraudulent transfers were
“person[s] for whose benefit the transfer was made” within the meaning of TUFTA where they were
majority shareholders of both the transferor and the transferee. Id. at 174; judgment vacated and
corrected, 2010 Tex. App. LEXIS 9543 (Tex. App. Houston 1st Dist. Nov. 23, 2010).
166
    In addition, courts outside the Fifth Circuit have also found controlling shareholders liable based on
factors that are easily met here. Courts consider whether the benefit was intended, rather than incidental,
and whether the benefit was actually received and if so whether it was quantifiable. See, e.g., Baldi v.
Lynch (In re McCook Metals, L.L.C.), 319 B.R. 570, 590 (Bankr. N.D. Ill. 2005); In re Cahillane, 408
B.R. at 205-07 (same). The Sponsors were the intended beneficiaries of the Distribution as acknowledged
in numerous Lazard presentations. ARES 0003465; see also ARES 0012869. Moreover, the Sponsors
received an actual and quantifiable benefit from the Distribution. Finally, the benefit was accessible to
the Sponsors by virtue of their control of the entities that have held the MyTheresa Asset. In re
Cahillane, 408 B.R. at 207 (suggesting that ownership and control of equity of transferee can confer
requisite access to benefit).

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Asset out of the reach of the Debtors’ creditors. The Distribution was initially conceived as a

transaction to “enhance long-term shareholder value by moving certain assets with strategic

value, such as the MyTheresa business, outside of the loan party group” in order to “maximize

the long-term value of MyTheresa for the Sponsors.”167 Further, the Sponsors orchestrated the

Distribution, using their control over the Debtors to effectuate the transfer. As Ares admits:

           I think it’ll eventually make sense to add them to a weekly call, but probably
           when we’ve signed the lenders up under NDA and we’re further down the
           process. There’s obviously sensitivity because we’re confidentially still
           trying to dividend out MT but the company is unaware.168

        The parties have explicitly acknowledged that the Debtors were controlled by the

Sponsors. As stated by the Debtors in numerous SEC filings: “We are controlled by the

Sponsors, whose interests as equity holders may conflict with those of the lenders under our

Senior Secured Credit Facilities and the holders of the Notes.”169

        As the intended and actual beneficiaries of the Distribution which they orchestrated and

controlled, the Sponsors are liable to the Estates for the value of the Distribution as entities for

whose benefit the transfer was made.

        b. The Full Value of the MyTheresa Asset is Recoverable Under 11 U.S.C. § 550

        When a transfer is avoided under section 548, the recovery from that avoidance under

section 550 becomes property of the estate. Some courts have ruled that, because the fraudulent

transfer laws are remedial, rather than punitive, recovery under section 550 should be limited to

the amount necessary to satisfy creditor claims, thereby preventing a windfall. See, e.g., Slone v.


167
    ARES_0003465.
168
    ARES_0012869 (emphasis added).
169
    See, e.g., Neiman Marcus Group LTD LLC (2018), Form 10-K for FYE July 28, 2018, retrieved from
http://neiman.gcs-web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 29 (emphasis in
original).

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Lassiter (In re Grove-Merritt), 406 B.R. 778, 811 (Bankr. S.D. Ohio 2009). However, neither

section 548 nor section 550 impose any such limit on an avoidance action recovery.

        Indeed, the Fifth Circuit – along with the Eighth and Ninth Circuits – has ruled that the

amount a trustee can recover under section 550 is not capped at the aggregate amount of

unsecured claims against the estate, so long as the recovery benefits the estate. See, e.g., MC

Asset Recovery LLC v. Commerzbank A.G. (In re Mirant Corp.), 675 F.3d 530, 534 (5th Cir.

2012) (bankruptcy trustee may avoid fraudulent transfers even after unsecured creditors are paid

in full, so long as avoidance benefits the estate). Accord Decker v. Tramiel (In re JTS Corp.),

617 F.3d 1102, 1111-14 (9th Cir. 2010); Stalnaker v. DLC, Ltd., 376 F.3d 819, 823-24 (8th Cir.

2004); Clinton v. Acequia, Inc. (In re Acequia, Inc.), 34 F.3d 800, 810-12 (9th Cir. 1994); Mt.

McKinley Ins. Co. v. Lac D’Amiante Du Quebec Ltee (In re ASARCO LLC), 513 B.R. 499, 506-

07 (S.D. Tex. 2012); In re Tronox Inc., 464 B.R. 606, 614 (Bankr. S.D.N.Y. 2012).

        These courts reject the argument that a court should limit recovery under section 550(a)

to an amount sufficient to satisfy all unsecured claims to prevent a “windfall” to the estate. See,

e.g., Acequia, 34 F.3d at 812 (court refused to cap recovery, stating “the [estate] has a greater

equitable claim to the transferred funds than does [the defendant wrongdoer]”); Tronox, 464 B.R.

at 614 (“the ‘for the benefit of the estate’ clause in § 550 sets a minimum floor for recovery in an

avoidance action – at least some benefit to the estate – but does not impose any ceiling on the

maximum benefits that can be obtained once that floor is met”). Thus, although it is doubtful

that recoveries from the MyTheresa Asset will ever exceed the amount of allowed creditor

claims in the Debtors’ cases, plus interest, the Estates are entitled to recover the MyTheresa

Asset or its full value, even if the value of the MyTheresa Asset does exceed the amount of

allowed creditor claims.

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    5. The Committee Has Investigated Other Potential Fraudulent Transfer Claims That
       Do Not Appear to Be Actionable

         The Committee also has evaluated the Designation, by which Lux I and its subsidiaries

were designated as Unrestricted Subsidiaries under the Unsecured Notes, and the PropCo

Transaction to determine whether either of those transactions might give rise to potential claims

against the Litigation Targets (or other parties). The Committee has concluded, based on its

investigation to date, that neither transaction is actionable.

         The Designation did not constitute a fraudulent transfer because the Designation was not

a “transfer” of any interest of the Debtors in property. The Designation merely characterized

MyTheresa as an unrestricted asset for purposes of the Unsecured Notes. The Designation was

not estate depleting and is therefore unlikely to form the basis of a high value claim by the

Estates.

         Similarly, the PropCo Transaction does not appear to give rise to any viable fraudulent

transfer claims. Unlike the Distribution, the PropCo Transaction did not remove assets from the

Debtors – as described above, the PropCo Transaction involved the transfer of assets to an

Unrestricted Subsidiary that remained within the Debtors’ ownership structure.

         The Designation and PropCo Transaction, however, are in stark contrast to the viable and

valuable claims that the Estates do possess with respect to the Distribution of the MyTheresa

Asset.

B. The Estates Have Additional State Law Claims Against Certain Litigation Targets

    1. Overview of the Estates’ Additional State Law Claims

         The Estates also have state law claims against certain Litigation Targets to recover the

amount of the Distribution as an illegal distribution under Delaware law, and to recover damages

for breaches of fiduciary duty and aiding and abetting breaches of fiduciary duty in connection


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with the Distribution. If the Distribution is avoided as a fraudulent transfer, and the MyTheresa

Asset or its value is recovered for the benefit of the Estates, prosecution of the additional state

law claims would add value to the Estates only if the Debtors suffered or would be entitled to

damages beyond the loss of value caused by the Distribution.170 The principal amount of

damages recoverable on the state law claims most likely would be equal to the recoverable value

of the MyTheresa Asset. In particular, recovery on the illegal distribution claim would, pursuant

to 6 Del. C. § 18-607, equal the amount of the Distribution; damages on the breach of fiduciary

duty claims would be based on the amounts the Debtors would have retained, i.e., the value of

the MyTheresa Asset, but for the breach of duty;171 and damages on the aiding and abetting

claim would be the same as damages on the breach of fiduciary duty claims.172

         Also, as discussed in further detail below, in order to assert the additional state law

claims, the Estates also would need to address the releases granted in the TSA. In particular, the

Estates would need to seek to avoid the releases themselves as constructive fraudulent transfers.

      2. NMG Parent is Liable to the Estates Based On Its Receipt of An Illegal Distribution
         from Debtor Holdings

         A Delaware limited liability company is prohibited from making distributions to its

members if, after giving effect to the distribution, all liabilities of the company would exceed the

fair value of its assets. Delaware law imposes liability on any member who knowingly receives

illegal distributions.173

170
     For instance, a litigation trustee (or other estate representative) will need to determine whether to seek
punitive damages on the breach of duty-related claims. Case law suggests that punitive damages may be
available on the Estates’ breach of duty-related claims to the extent that the underlying conduct is willful
and wanton, or “particularly reprehensible.” See, e.g., Seitz, 2017 Bankr. LEXIS 592 at *19-21.
171
    Int’l Telecharge, Inc. v. Bomarko, Inc., 766 A.2d 437, 440-41 (Del. 2000).
172
    A defendant who aids and abets a breach of fiduciary duty is jointly and severally liable for damages
resulting from the breach. Rural/Metro Corp. Stockholders Litig., 102 A.3d 205, 220-21 (Del. 2014).
173
     Pursuant to 6 Del. C. § 18-607(c), claims for illegal distributions under Delaware law are subject to a
three-year statute of limitations.

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        Section 18-607 of the Delaware Code, Limitations on Distribution, provides:

           (a) A limited liability company shall not make a distribution to a member to
           the extent that at the time of the distribution, after giving effect to the
           distribution, all liabilities of the limited liability company . . . exceed the fair
           value of the assets of the limited liability company ...

           (b) A member who receives a distribution in violation of subsection (a) of
           this section, and who knew at the time of the distribution that the distribution
           violated subsection (a) of this section, shall be liable to a limited liability
           company for the amount of the distribution. A member who receives a
           distribution in violation of subsection (a) of this section, and who did not
           know at the time of the distribution that the distribution violated subsection
           (a) of this section, shall not be liable for the amount of the distribution. ...

6 Del. C. § 18-607. See also Eerie World Entm’t, L.L.C. v. Bergrin, 2004 U.S. Dist. LEXIS

23882, at *6, n.17 (S.D.N.Y. Nov. 29, 2004) (section 18-607 requires the “same showing of

insolvency” as under section 548 of the Bankruptcy Code). The standard for imposing liability

on a member receiving an illegal distribution has been summarized as follows:

           [I]f an LLC member receives a distribution that results in the LLC becoming
           insolvent, and [the member] knew at that time that the LLC would become
           insolvent as a result of the distribution, the LLC member is liable to the LLC
           for the amount of the distribution.

Pepsi-Cola Bottling Co. of Salisbury, Md. v. Handy, 2000 Del. Ch. LEXIS 52, *9 (Del. Ch. March

15, 2000). The Delaware Chancery Court has explained that “[s]ection 18-607 prohibits the

stripping of corporate assets so as to render an LLC insolvent, and creates a corporate cause of

action against LLC members who improperly receive a distribution of those assets.” Id. at *16.

        The series of distributions of the MyTheresa Asset up the corporate chain to NMG Parent

would violate Delaware law regarding distributions to a member because the distributing entities

– the Debtors – were insolvent just prior to the Distribution and were rendered even more

insolvent as a result of the Distribution. Further, NMG Parent cannot credibly claim to have

been unaware of the Debtors’ insolvency. The valuation memoranda used to “support” the


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Distribution were prepared by NMG Parent’s CFO, notwithstanding management’s historical

inability to accurately forecast revenue or EBITDA, and notwithstanding the CFO’s obvious lack

of qualifications, because the Sponsors knew that no outside financial advisory firm would

provide the opinion as to solvency needed to “approve” the Sponsors’ plan for the MyTheresa

Asset. Therefore, the Distribution is recoverable from NMG Parent as an illegal distribution

under Delaware law.

         Any damages on account of this claim, however, would be limited to the MyTheresa

Asset or its value, which is equivalent to the recovery under a fraudulent transfer claim.

Therefore, an illegal distribution claim is not likely to result in any recovery that is not

duplicative of the avoidance and recovery of the Distribution as a fraudulent transfer.

      3. NMG Parent and the Directors Are Liable to the Debtors for Breaches of Fiduciary
         Duties In Connection With the Distribution

         Under Delaware law, the elements of a breach of fiduciary duty claim are (i) the

existence of a fiduciary duty, and (ii) the fiduciary’s breach of that duty. See e.g., Lightsway Lit.

Serv. LLC v. Yung (In re Tropicana Entertainment, LLC), 520 B.R. 455, 470 (Bankr. D. Del.

2014).174 As discussed further below, the “traditional” or “default” fiduciary duties under

Delaware law include a duty of loyalty and a duty of care. See, e.g., Feeley v. NHAOCG, Ltd.

Liab. Co., 62 A.3d 649, 661 (Del. Ch. 2012).


174
   Courts considering claims for breach of duty apply the “internal affairs doctrine,” which provides that
the law applicable to breach of duty claims is that of the state of formation of the entity, unless another
state has a more significant relationship with the parties and the dispute. Here, at the time of the
Distribution, each distributing entity was a member-managed LLC whose applicable LLC agreement
contained Delaware choice-of-law provisions. Additionally, NMG Parent was incorporated in Delaware.
Accordingly, Delaware law presumptively would apply to the Debtors’ breach of fiduciary duty claims
against their fiduciaries. See 6 Del. C. § 18-1101(i) (“A limited liability company agreement that provides
for the application of Delaware law shall be governed by and construed under the laws of the State of
Delaware in accordance with its terms.”). Pursuant to 10 Del. C. § 8106, claims for breach of fiduciary
duty under Delaware law are subject to a three-year statute of limitations; thus, claims for breach of
fiduciary duty based on the Distribution would not be time-barred.

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        a. NMG Parent and the Directors Owed Fiduciary Duties to the Debtors

             1) NMG Parent Owed Fiduciary Duties to Holdings As the Member-Manager
                of Holdings

        In the absence of a contrary provision in an LLC agreement, the manager of an LLC

owes traditional fiduciary duties of care and loyalty to the LLC. CelestialRX Invs., LLC v.

Krivulka, 2017 Del. Ch. LEXIS 22, *43-44 (Del. Ch. Jan. 31, 2017). Here, NMG Parent, as the

sole member-manager of Holdings, owed fiduciary duties to that Debtor.

        Under the Delaware Limited Liability Company Act, 6 Del. Code §§ 18-1101, et seq.

(“DLLCA”), traditional fiduciary duties are owed by members and managers of an LLC unless

otherwise specifically and unambiguously limited by the LLC agreement. CelestialRX Invs.,

LLC, 2017 Del. Ch. LEXIS at *44 (“this Court has consistently found that removal of a

manager’s default fiduciary duties from an LLC agreement must be clear and unambiguous”).175

Here, the operating agreement of Holdings does not eliminate fiduciary duties, but rather

contains the following exculpation provision:

           Exculpation and Indemnification. No Member or Officer shall be liable to the
           Company or any other person or entity who is bound by this Agreement for
           any loss, damage or claim incurred by reason of any act or omission
           performed or omitted by such Member or Officer in good faith on behalf of
           the Company and in a manner reasonably believed to be within the scope of
           authority conferred on such Member or Officer by this Agreement, except that
           a Member or an Officer shall be liable for any such loss, damage or claim
           incurred by reason of such Member’s or Officer’s gross negligence or willful
           misconduct.176




175
    See 6 Del. C. § 18-1104 (“In any case not provided for in the chapter, the rules of law and equity,
including the rules of law and equity relating to fiduciary duties and the law merchant, shall govern.”);
Burtch v. Opus, LLC (In re Opus East, LLC), 528 B.R. 30, 67-68 (Bankr. D. Del. 2015), aff’d, 2016 U.S.
Dist. LEXIS 42955 (D. Del. Mar. 31, 2016) (Delaware law allows creators of LLCs to modify the level of
fiduciary duty that is owed to the company by its officers and directors; upholding provisions of LLC
agreement that limited officer’s and director’s breach of fiduciary duty only if they acted in bad faith).
176
    NMDEBTORS00011271-72 (Holdings Op. Agreement at Section 24).

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As discussed above, the operating agreements of NMG LTD and NMG LLC likewise did not

eliminate fiduciary duties, and contained substantially similar exculpation provisions.177

        Although the foregoing provision exculpates certain conduct, it does not waive traditional

fiduciary duties. In Feeley, the Chancery Court explained:

           A provision exculpating a member from liability for breach of fiduciary duty
           in accordance with Section 1101(e) of the LLC Act accomplishes a different
           result than a provision that modifies, restricts, or eliminates the underlying
           fiduciary duty itself, as contemplated by Section 1101(c) of the LLC Act.
           (citations omitted).

           Rather than eliminating fiduciary duties, the exculpatory language . . .
           recognizes their continuing existence. Gross negligence is the standard for
           evaluating a breach of the duty of care. See Aronson v. Lewis, 473 A.2d 805,
           812 (Del. 1984). Willful misconduct is one standard for evaluating whether a
           fiduciary breached the duty of loyalty by acting in bad faith. See Stone v.
           Ritter, 911 A.2d 362, 369 (Del. 2006). . . . If [the exculpation] had eliminated
           fiduciary duties, . . . then it would be counter-intuitive for the same provision
           to recognize exceptions to exculpation for gross negligence and willful
           misconduct . . . .

62 A.3d at 664. Thus, NMG Parent owed traditional fiduciary duties of loyalty and due care to

Holdings.

             2) The Directors Owed Fiduciary Duties to the Debtors Based on Their Control
                Over the Debtors

        While Delaware courts recognize that directors of a parent do not generally owe fiduciary

duties to subsidiaries,178 a parent’s fiduciaries may owe fiduciary duties to its subsidiaries based

on control. See In re USACafes, L.P. Litig., 600 A.2d 43 (Del. Ch. 1991). USACafes involved a

limited partnership whose corporate general partner had two controlling shareholders who also

served as directors. Id. at 45-46. The limited partners brought breach of fiduciary duty and


177
    NMDEBTORS00017476 (NMG LLC Op. Agreement at Section 24); NMDEBTORS00017447 (NMG
LTD Op. Agreement at Section 23).
178
    See Trenwick Am. Litig. Tr. v. Ernst & Young, LLP, 906 A. 2d 168, 173-74 (Del. Ch. 2006), aff’d sub
nom. Trenwick Am. Litig. Tr. v. Billett, 931 A.2d 438 (Del. 2007).

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related claims against the general partner and the controlling shareholders/directors for allegedly

approving a sale of substantially all the limited partnership’s assets to a successor corporation for

less than the price a fair sale process would have yielded, induced by the receipt of substantial

side payments. Id. at 46. The controlling shareholders/directors of the general partner moved to

dismiss, arguing that their only fiduciary duty ran to the general partner, not to the limited

partners. Id. at 47. The Delaware Chancery Court denied the motion to dismiss, holding that the

directors of a corporate general partner of a limited partnership owe fiduciary duties directly to

the limited partnership and its limited partners in dealing with the limited partnership’s property.

Id. at 49.

        The USACafes court based its conclusions on the general principle of fiduciary duty law

“that one who controls the property of another may not, without implied or express agreement,

intentionally use that property in a way that benefits the holder of the control to the detriment of

the property or its beneficial owner.” Id. at 48. The court declined to “delineate the full scope of

[the] duty,” noting that it surely entailed the duty not to use control over the limited partnership’s

property to advantage the director at the expense of the limited partnership. Id. at 49.

        Subsequent cases have applied USACafes in the context of LLCs. See, e.g., Bay Ctr.

Apartments Owner, LLC v. Emery Bay PKI, LLC, 2009 Del. Ch. LEXIS 54, *32-40 (Del. Ch.

Apr. 20, 2009) (applying USACafes to an LLC); 77 Charters, Inc. v. Gould, 2020 Del. Ch.

LEXIS 186, *23-25, *34 (Del. Ch. May 18, 2020) (recognizing that non-member, non-manager

second-tier/remote controllers may owe limited fiduciary duties to LLCs). Although there are

limitations on the scope of fiduciary duties imposed by control under USACafes, the relevant

decisions make clear that fiduciary duties based on control encompass (at a minimum) the duty

to ensure that the controlling entity is not exercising that control in a manner that disadvantages

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the controlled entity – and courts have likened the duty imposed based on control to a duty of

loyalty. See, e.g., Wood v. United States Bank Nat’l Ass’n, 2018 Del. Ch. LEXIS 1399, *2 (Del.

Ch. Sept. 26, 2018) (controllers of a managed entity owe at least a duty of loyalty with respect to

transactions involving the LLC’s property); 77 Charters, Inc., 2020 Del. Ch. LEXIS 186 at *34;

Feeley, 62 A.3d at 670-72.

        Here, as stated by the Debtors in numerous SEC filings: “We are controlled by the

Sponsors, whose interests as equity holders may conflict with those of the lenders under our

Senior Secured Credit Facilities and the holders of the Notes.”179 The Sponsors hand-picked all

of the members of NMG Parent’s board (i.e., the Directors). Pursuant to the Stockholders

Agreement entered into in connection with the LBO, Ares was entitled (on its own) to designate

three members, CPPIB was entitled (on its own) to designate three members, Ares and CPPIB

were entitled to jointly designate three members, and the remaining seat was reserved for the

current chief executive officer of NMG Parent (an officer selected by the board members).180

Further, each Debtor involved in the Distribution of the MyTheresa Asset was managed by

another entity in the Neiman Marcus corporate structure, with NMG Parent as the only entity

with a “traditional” board of directors. Therefore, the Directors controlled the Debtors, and thus

owed a fiduciary duty to the Debtors to not exercise that control in a manner that disadvantaged

the Debtors.




179
    Neiman Marcus Group LTD LLC Form 10-K for FYE July 28, 2018, retrieved from http://neiman.gcs-
web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 29 (emphasis in original).
180
    Neiman Marcus Group LTD LLC (2018), Form 10-K for FYE July 28, 2018, retrieved from
http://neiman.gcs-web.com/static-files/fad9f2dd-0677-4655-8092-a3f88412290e, at pg. 65.

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           b. The Approval and Implementation of the Distribution Constituted a Breach of
              the Duties of Loyalty Owed by NMG Parent and the Directors

           The duty of loyalty imposes an affirmative obligation on management to protect the

interest of the business and act in good faith. See e.g., Guth v. Loft, Inc., 5 A.2d 503, 510 (Del.

1939); Feeley, 62 A.3d at 664. A breach of the duty of loyalty occurs where the fiduciary acts in

contravention of the mandate “that the best interest of the corporation and its shareholders takes

precedence over any interest possessed by a director, officer or controlling shareholder and not

shared by the stockholders generally.” Cede & Co. v. Technicolor, 634 A.2d 345, 361 (Del. 1992).

The requisite lack of good faith “may be shown, for instance, where the fiduciary intentionally acts

with a purpose other than that of advancing the best interests of the corporation.” Brem v. Eisner

(In re Walt Disney Co. Derivative Litig.), 906 A.2d 27, 67 (Del. 2006).

           Here, NMG Parent and the Directors could not legitimately contend that the purpose of

the Distribution was to advance the best interests of any of the Debtors.            The evidence

demonstrates that they did not even pay “lip service” to the Debtors’ interests. To the contrary,

NMG Parent and its Sponsor-controlled board abused their control over the Debtors and

breached their respective duties to the Debtors by approving the Distribution, which was

designed and implemented for the Sponsors’ benefit, not the Debtors’ benefit, to try to salvage

the Sponsors’ failing investment in the Debtors (in which each of the Sponsors had invested

$650 million) and remove the MyTheresa Asset from the reach of the Debtors’ creditors. Further,

approval of the Distribution certainly “disadvantaged” the Debtors – the MyTheresa Asset, worth

$822 million in September 2018, was transferred to NMG Parent for no consideration, at a time

when the Debtors were insolvent by at least $785 million just prior to the Distribution and, after

giving effect to the Distribution, were insolvent by at least $1.608 billion.181

181
      Shaked Report at pgs. 5, 7.

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      4. The Sponsors Are Liable to the Debtors For Aiding and Abetting Breaches of
         Fiduciary Duty In Connection With the Distribution

         Under Delaware law,182 to prevail on a claim for aiding and abetting a breach of fiduciary

duty, a plaintiff must establish: (i) the existence of a fiduciary relationship; (ii) a breach of the

fiduciary’s duty; (iii) knowing participation in that breach by the defendants; and (iv) damages

proximately caused by the breach.183 The Delaware Supreme Court has explained that

“[k]nowing participation in a board’s fiduciary breach requires that the third party act with the

knowledge that the conduct advocated or assisted constitutes such a breach.”184 That is, the aider

and abettor must act with scienter – “knowingly, intentionally, or with reckless indifference,” in

other words, an “illicit state of mind.”185

         Delaware courts have held, as a matter of law, that “aiding and abetting liability generally

cannot attach to defendants who themselves owe fiduciary duties to the relevant entity and

plaintiff.”186 Here, aiding and abetting claims could be asserted against the Sponsors and other

parties to the extent they are found not to have owed direct fiduciary duties to the Debtors.187




182
     Under the “internal affairs doctrine,” the law applicable to a claim for aiding or abetting breach of
fiduciary duty owed to an entity is typically the law of the state under which the entity was formed (here,
Delaware). See Am. Int’l Grp., Inc. v. Greenberg (In re Am. Int’l Grp., Inc.), 965 A.2d 763, 822 (Del. Ch.
2009), aff’d sub. nom., Teachers’ Ret. Sys. of La. v. PricewaterhouseCoopers LLP, 11 A.3d 228 (Del.
2011).
183
    See, e.g., Malpiede v. Townson, 780 A.2d 1075, 1096 (Del. 2001).
184
     RBC Capital Markets, LLC v. Jervis, 129 A.3d 816, 861-63 (Del. Nov. 30, 2015).
185
     Id.; Malpiede, 780 A.2d at 1097 (a third party cannot aid and abet a breach of fiduciary duty unless it
acts “with the knowledge that the conduct advocated or assisted constitutes such a breach”).
186
      CMS Inv. Holdings, LLC v. Castle, 2015 Del. Ch. LEXIS 169, *73-74 (Del. Ch. June 23, 2015)
(“Delaware cases dealing with claims for aiding and abetting a breach of fiduciary duty have held that, as
a matter of law, aiding and abetting liability generally cannot attach to defendants who themselves owe
fiduciary duties to the relevant entity and plaintiff. The reason is that wrongful conduct on the part of the
defendant fiduciary simply would give rise to direct liability for a breach of the duties he owes, rather
than secondary liability on the theory of aiding and abetting.”).
187
    Id. at *77 (court refused to dismiss claims for aiding and abetting breach of fiduciary duty, stating that
“[t]he reason is that if they ultimately are found not to have owed fiduciary duties and Plaintiff’s fiduciary
duty claims fail as to them, they still could be subject to liability as aiders and abettors”).

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Indeed, courts have recognized that aiding and abetting liability may lie for entities or

individuals who “dominated and controlled” a party alleged to have breached a fiduciary duty.188

         The Sponsors are liable for aiding and abetting the breaches of fiduciary duty committed

by NMG Parent and the Directors, because the Sponsors controlled, engineered, and knowingly

participated in the Distribution, which was both a fraudulent transfer and an illegal distribution,

and the approval of which breached the fiduciary duties owed by NMG Parent and the Directors.

The Sponsors knowing and active participation is demonstrated by the following facts:

                The Distribution was designed by the Sponsors, with the assistance of advisors
                 retained by the Sponsors, for the express purpose of moving the MyTheresa Asset
                 outside of the loan party group, to enhance value for the Sponsors.

                The Distribution was considered and approved by a board consisting of directors
                 selected only by the Sponsors.

                The Distribution, while ultimately structured as a transfer from the Debtors to
                 NMG Parent, was initiated and consummated to facilitate an eventual transfer of
                 the MyTheresa Asset from NMG Parent to the Sponsors themselves.

         Therefore, the Estates can assert a claim against the Sponsors for aiding and abetting the

breaches of fiduciary duty committed by NMG Parent and the Directors.

      5. The Purported Releases of the Debtors’ State Law Claims Against the Litigation
         Targets Likely Are Avoidable As Constructively Fraudulent Transfers

         In response to the assertion of any of the foregoing state law claims by the Estates, the

Litigation Targets may argue that such claims are barred by the releases granted by the Debtors

under the TSA. Those releases, however, likely would themselves be subject to avoidance as

constructive fraudulent transfers under 11 U.S.C. § 548.


188
   See, e.g., Metro. Life Ins. Co. v. Tremont Grp. Holdings, Inc., 2012 Del. Ch. LEXIS 287, *70-72 (Del.
Ch. Dec. 20, 2012) (denying motion to dismiss aiding and abetting cause of action based on allegations of
domination and control satisfying the “knowing participation” element).

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        In the Fifth Circuit, a pre-petition release of a claim is clearly a “transfer” of property for

fraudulent transfer avoidance purposes. See, e.g., e2 Creditors’ Tr. v. Farris (In re e2 Commun’s,

Inc.), 320 B.R. 849, 856 (Bankr. N.D. Tex. 2004) (“Given the Fifth Circuit’s holding in Besing v.

Hawthorne [(In re Besing), 981 F.2d 1488, 1494 (5th Cir. 1993)], this Court concludes that the

release, which likewise bars further pursuit of causes of action, constitutes a transfer of the

Debtor’s claims against Farris within the meaning of the Bankruptcy Code.”).

        A claim to avoid the releases as constructively fraudulent transfers would require proof of

a lack of reasonably equivalent value and insolvency (or other similar state of financial distress).

With respect to insolvency, the releases at issue were granted by the Debtors in the TSA, which

was executed in March 2019 and consummated in June 2019. As discussed at length in the

previous sections, Dr. Shaked has concluded that the Debtors were insolvent throughout this

period – especially after they were stripped of the MyTheresa Asset.

        With respect to reasonably equivalent value, the Litigation Targets likely would argue

that the Debtors received reasonably equivalent value in exchange for the releases granted in the

TSA, because the TSA was executed in contemplation of the Recapitalization and value was

provided to the Debtors via the Recapitalization. Value alone, however, is not sufficient – it must

be “reasonably equivalent” value. The releases granted by the Debtors in the TSA are avoidable

so long as any value received by the Debtors in the Recapitalization was not “reasonably

equivalent” to the value of what the Debtors “gave up” by granting the releases. Moreover, the

fact that this was not an arms-length transaction between the Debtors and the Litigation Targets –

the releasing parties (the Debtors) were controlled by the Litigation Targets who received the

releases – and the absence of “good faith” on the part of the Litigation Targets (see Section

IV.A.3.a, supra), will be significant considerations in the evaluation of reasonably equivalent

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value. See, e.g., Autobacs Strauss, Inc. v. Autobacs Seven Co. (In re Autobacs Strauss, Inc.), 473

B.R. 525, 568 (Bankr. D. Del. 2012) (courts should evaluate the fair value of any benefit

received by the debtor as well as “the existence of an arm’s-length relationship between the

debtor and the transferee,” and “the transferee’s good faith”).

        The value of what the Debtors “gave up” by granting the releases is the value of what the

Estates can recover by asserting the state law claims against the Litigation Targets. The measure

of damages the Estates can recover on account of the various state law claims is, at a minimum,

the value of the MyTheresa Asset at the time of the Distribution, calculated by Dr. Shaked as

$822 million as of September 14, 2018. While the Committee has not obtained an expert opinion

on the precise value of what the Debtors “received” via the Recapitalization, there is no evidence

suggesting that any value received by the Debtors via the Recapitalization was even remotely

equivalent to the value of the MyTheresa Asset. Indeed, since the Debtors were controlled by

some of the released parties, it appears that no one analyzed the issue on behalf of the Debtors

when the releases were given.

C. Prosecution of the Litigation Claims Will Benefit the Estates

    1. The Sponsors and NMG Parent Cannot Enforce the Turnover Provision of the TSA

        The Turnover Provision of the TSA is not enforceable against the Estates as to recoveries

obtained through the Estates’ avoidance claims, because, as discussed above, the avoidance

claims are “creditor claims” and, in asserting those claims, the Estates do not “stand in the shoes”

of the Debtors. See, e.g., Hays & Co. v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 885 F.2d

1149, 1155 (3d Cir. 1989) (claims under section 548 are “creditor claims” and “there is no

justification for binding creditors to [an agreement’s arbitration provision] with respect to claims

that are not derivative from one who was a party to it”). With respect to fraudulent and


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preferential transfers, “these are statutory causes of action belonging to the trustee, not to the

bankrupt, and the trustee asserts them for the benefit of the bankrupt’s creditors, whose rights the

trustee enforces.” Id. (citing Allegaert v. Perot, 548 F.2d 432, 436 (2d Cir. 1977)).

        Further, the Turnover Provision is not enforceable against either the Estates or any

Consenting Noteholders because the Turnover Provision (in conjunction with the MYT

Waterfall), if enforced, would allow NMG Parent and the Sponsors to retain the fruits of an

intentional fraudulent transfer that they orchestrated to the same extent as if the transfer had not

been avoided (i.e., pursuant to the MYT Waterfall) even if the Distribution is avoided and

recovered for the benefit of the Estates. Neither this Court (nor any other court) should condone,

or be complicit in, this scheme to insulate the Sponsors and NMG Parent from liability for their

wrongful conduct and allow them to keep what they misappropriated.

        In particular, the Turnover Provision should not be enforced for the benefit of the

Litigation Targets against the Estates or the 3L Noteholders (or any other party to the TSA)

because (i) the enforcement of that provision would be against public policy, and (ii) the

Litigation Targets are precluded from seeking judicial relief to enforce the provision by the

doctrine of unclean hands. Allowing the Turnover Provision to be enforced would set a terrible

precedent and effectively provide a roadmap for anyone with sophisticated lawyers to try to

contract their way out of the cost of an intentional fraudulent transfer by imposing that cost on

someone else. Further, enforcing such a contractual provision for the benefit of one who has

breached its fiduciary duty would only compound the problem.

        Contracts that create incentives to commit acts that are illegal or otherwise violate public

policy are not enforceable. Truck Ins. Exch. v. Ashland Oil, Inc., 951 F.2d 787, 790 (7th Cir.

1992); United States v. King, 840 F.2d 1276, 1283 (6th Cir. 1988).

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        When parties enter into a contract in furtherance of a fraud against a third party, the

contract will not be enforced. Smith v. Long, 281 A.D.2d 897, 898 (N.Y. Sup. App. Div. 2001)

(“‘[U]nclean hands in participating in a course of conduct of deception and deceit is an effective

bar’ to causes of action to enforce the agreement that results from that deception and deceit”);

LG Funding, LLC v Caribbean Linked Shipping, Inc., 2020 N.Y. Misc. LEXIS 2488, *11 (N.Y.

Sup. June 3, 2020) (under the doctrine of unclean hands, “one who has executed an agreement to

perpetrate a fraud has ‘forfeited his right, in law or equity, to protection or recourse in a dispute

involving his accomplices in that very scheme’”) (citations omitted); Ta Chun Wang v. Chun

Wong, 163 A.D.2d 300, 302 (N.Y. Sup. App. Div. 1990) (“Having engaged in a fraudulent

scheme involving the conveyance of the premises, the plaintiff has forfeited his right, in law or

equity, to protection or recourse in a dispute involving his accomplices in that very scheme.”);

Muscarella v. Muscarella, 93 A.D.2d 993, 993-94 (N.Y. Sup. App. Div. 1983) (“Where an

action is brought to compel reconveyance of property which admittedly was transferred with the

intent to defraud a legitimate creditor, the basis of such a suit is immoral and one to which equity

will not lend its aid ...”).189

        The refusal of courts to enforce contracts that violate public policy is similar to the

doctrine of unclean hands. This doctrine is based on the maxim that “one who comes into equity

must come with clean hands.” Bentley v. Tibbals, 223 F. 247, 251 (2d Cir. 1915). The doctrine

of unclean hands is firmly ingrained in our system of jurisprudence “‘not to favor [the]



189
    The Turnover Provision is governed by New York law. Texas courts also refuse to enforce rights
flowing from an illegal contract. See E.D. Systems Corp. v. Southwestern Bell Tel. Co., 674 F.2d 453,
460 (5th Cir. 1982) (“Texas law is well settled that a party to a contract cannot compel performance if
the contract is illegal.”); Penny v. OrthAlliance, Inc., 2004 U.S. Dist. LEXIS 6963, *7-8 (N.D. Tex. Apr.
23, 2004) (noting that the Texas Supreme Court “has repeatedly refused to enforce contracts which are
either expressly or impliedly prohibited by statutes or by public policy”) (citations omitted).

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defendant, but as a matter of public policy.’” Holland v. Ryan, 307 A.D.2d 723, 725 (N.Y. Sup.

App. Div. 2003) (citations omitted).

        The Supreme Court, explaining the rationale behind the doctrine of unclean hands, has

stated that “the equitable powers of this court can never be exerted in behalf of one who has

acted fraudulently, or who by deceit or any unfair means has gained an advantage. To aid a party

in such a case would make this court the abettor of iniquity.” Bein v. Heath, 47 U.S. 228, 247, 12

L. Ed. 416 (1848); see also PenneCom B.V. v. Merrill Lynch & Co., 372 F.3d 488, 493 (2d Cir.

2004).190

        Although the doctrine of unclean hands is generally a defense to equitable rather than

legal claims for damages, the defense is applicable where the plaintiff seeks to reap the fruits of

his own immoral conduct. See Merhav Ampal Group, Ltd. v. Merhav (M.N.F.) Ltd. (In re

Ampal-American Isr. Corp.), 545 B.R. 802, 812-13 (Bankr. S.D.N.Y. 2016) (general rule is that

“unclean hands does not apply to legal claims except where the plaintiff seeks to reap the fruits of

his own immoral conduct”) (citing Mallis v. Bankers Trust Co., 615 F.2d 68, 75 (2d Cir. 1980)).

        The defense of unclean hands properly applies to the Litigation Targets and would bar

them from any enforceable claim against the 3L Noteholders for specific performance of the

Turnover Provision or any legal claim for damages. Stated simply, the Turnover Provision

cannot be enforced by NMG Parent or the Sponsors in order to effectuate – or profit from – any

aspect of a fraudulent transfer.


190
   For this reason, there is no requirement that a litigant itself raise the unenforceability of a contract on
public policy grounds. Rather, a court may raise the unenforceability of a contract on public policy
grounds sua sponte. See, e.g., 360Networks Corp. v. Geltzer (In re Asia Global Crossing, Ltd.), 404 B.R.
335, 343 (S.D.N.Y. 2009) (citing Restatement (Second) of Contracts, cp. 8, at 5 (1979) (“Even if neither
party’s pleading or proof reveals the contravention [of public policy], the court may ordinarily inquire
into it and decide the case on the basis of it if it finds it just to do so, subject to any relevant rules of
pleading or proof by which it is bound.”).

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        Further, the Turnover Provision could be avoided altogether by recovering the value of

the MyTheresa Asset against the Sponsors as entities for whose benefit the transfer of the

MyTheresa Asset was made. To the extent that the Estates obtain such a money judgment

against the Sponsors, any amounts collected on such judgment from the Sponsors directly

should not be subject to any obligations under or respecting the MYT Waterfall. The MyTheresa

Asset itself would remain under the control of the indirect wholly-owned subsidiary of NMG

Parent that currently owns it and NMG Parent would be required under the TSA to comply with

the MYT Waterfall as to any proceeds of the My Theresa Asset.

    2. Prosecution of the Litigation Claims Will Rightfully Restore Control Over the
       MyTheresa Asset (Or Its Value) to the Estates

        Recovery of the MyTheresa Asset (or the value thereof) will benefit the Debtors’ estates

and unsecured creditors generally because the MyTheresa Asset is, and was at all relevant times,

worth at least hundreds of millions of dollars. If successful on their claims to recover the

MyTheresa Asset or its value, the Debtors’ estates would regain control of the MyTheresa Asset

(or recover the value thereof) and the ability to choose how to maximize distributions therefrom

for the benefit of the Debtors’ estates and unsecured creditors. Further, any rights of NMG

Parent or the Sponsors to exercise control over, or benefit from, the MyTheresa Asset (or the

value thereof) would be stripped away and restored to the Debtors’ estates.

        The possible assertion of deficiency claims by secured noteholders against the estates

does not change this analysis. A chapter 11 plan in this case could mirror the distribution that

would be made under the MYT Waterfall as it relates to the 2L Noteholders and the 3L

Noteholders – regardless of the outcome of litigation to recover the MyTheresa Asset or its value

– with the goal of being value-neutral as to those creditors. In the event that the MyTheresa



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Asset or its value is recovered by the Debtors’ estates, there would be no distribution from that

asset to NMG Parent (and, indirectly, the Sponsors), thereby augmenting the Debtors’ estates

(for the benefit of unsecured creditors) by an amount equivalent to what otherwise would have

been NMG Parent’s share of any proceeds realized from the MyTheresa Asset. Under this

scenario, there would be no basis for any noteholder to assert a deficiency claim because

noteholders would receive the same recovery that they would receive under the MYT Waterfall.

        For example, a plan could provide that whether or not the MyTheresa Asset is recovered,

if and when such asset is monetized, the distribution to the 2L Noteholders and the 3L

Noteholders would be exactly the same, with the only difference being that, in the event the

MyTheresa Asset is recovered, certain amounts would be retained by the Debtors’ estates, rather

than ultimately received by NMG Parent. Distributions under such plan could be calculated with

reference to the net proceeds received for the MyTheresa Asset as follows: (a) the 2L

Noteholders would receive an amount equal to the first net proceeds up to $200 million,

representing the amount they would have received on account of the lien against the MYT

Holding Companies that secures the Second Lien Notes if the MyTheresa Asset had not been

recovered; (b) the 3L Noteholders would receive an amount equal to the next net proceeds up to

$250 million plus accrued dividends, representing the amount they would have received on

account of their Series A Preferred Stock in MYT Holding if the MyTheresa Asset had not been

recovered; (c) the Debtors’ estates would retain an amount equal to the next net proceeds up to

$250 million plus accrued dividends, representing the amount that otherwise would have been

ultimately received by NMG Parent on account of the Series B Preferred Stock in MYT Holding

if the MyTheresa Asset had not been recovered; (d) the 3L Noteholders would receive an amount

equal to 50% of any remaining excess net proceeds (i.e., 50% of the net proceeds in excess of

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approximately $700 million), representing the amount they would have received on account of

their interest in the Common Stock of MYT Holding if the MyTheresa Asset had not been

recovered; and (e) the Estates would retain an amount equal to the remaining 50% of any such

excess net proceeds, representing the amount that otherwise would have been ultimately received

by NMG Parent on account of the Common Stock of MYT Holding if the MyTheresa Asset had

not been recovered. Each of the foregoing distributions to the 2L Noteholders and the 3L

Noteholders would mirror the payments they would have received if the MyTheresa Asset (or the

value thereof) had not been recovered.

        Most importantly, if the MyTheresa Asset (or the value thereof) is recovered, nothing

would be distributed to NMG Parent on account of its ultimate ownership of the Series B

Preferred Stock or the Common Stock of MYT Holding. As a result of having the MyTheresa

Asset (or its value) restored to the Debtors’ estates, none of the proceeds of such asset (whenever

those proceeds may be realized) would be received by MYT Holding – the entity whose Series B

Preferred Stock and Common Stock are ultimately owned by NMG Parent. Instead, the value

derived from the net proceeds of the MyTheresa Asset that otherwise would be appropriated by

NMG Parent on account of the Series B Preferred Stock and the Common Stock of MYT

Holding would be retained by the Debtors’ estates for the benefit of unsecured creditors.

        The net effect of the foregoing is that, if the transfer of the MyTheresa Asset is avoided,

the Debtors’ estates will control the MyTheresa Asset. Further, the Debtors’ estates will be

augmented by value from the MyTheresa Asset equal to: (a) approximately the first $250

million in net proceeds in excess of approximately $450 million in net proceeds (i.e., after

accounting for payment of $200 million to the 2L Noteholders and approximately $250 million




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to the 3L Noteholders) and (b) 50% of any net proceeds generated in excess of approximately

$700 million.

        Although the precise value of the MyTheresa Asset may be undetermined as of the

effective date of a chapter 11 plan, the potential value derived from that asset in the event that it

is recovered by the Debtors’ estates will be hundreds of millions of dollars.

        NMG Parent and/or the Sponsors may argue that the Turnover Provision in the TSA

requires the indenture trustees for the 2L Noteholders and the 3L Noteholders to turn over any

funds, property, or value that they receive on account of any claims, causes of action, or

litigation relating to the transfer of the MyTheresa Asset to NMG Parent (or its designee), which

entity then would be required to distribute those recoveries in accordance with the MYT

Waterfall. The Turnover Provision, however, should not impact the integrity of the distributions

to the 2L Noteholders and the 3L Noteholders outlined above for the following reasons:

        First, whether distributed under a plan or through the MYT Waterfall, the initial $450

million of net proceeds from the MyTheresa Asset (plus accrued dividends on the Series A

Preferred Stock) would be distributed in a manner that exactly replicates the MYT Waterfall –

the first $200 million would be distributed to the 2L Noteholders and the next $250 million plus

accrued dividends would be distributed to the 3L Noteholders.

        Second, the next $250 million of net proceeds from the MyTheresa Asset (plus accrued

dividends on the Series B Preferred Stock) that otherwise ultimately would have been received

by NMG Parent on account of the Series B Preferred Stock if the MyTheresa Asset had not been

recovered would be retained by the Debtors’ estates. NMG Parent and the Sponsors would have

no right to any portion of the net proceeds of the MyTheresa Asset after the fraudulent transfer of

the MyTheresa Asset is avoided and that asset is recovered because the Series B Preferred Stock

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and the Common Stock of MYT Holding from which NMG Parent’s rights derive would be

worthless equity securities in a corporate shell whose only asset will have been disgorged.

        Moreover, the Turnover Provision is neither binding on, nor enforceable by, NMG Parent

or the Sponsors against the Debtors’ estates because the MyTheresa Asset will have been

recovered, not by the exercise of any right of the Debtors, but through a trustee’s avoiding

powers under section 548 of the Bankruptcy Code. An estate representative that holds avoiding

powers is not bound by a prepetition agreement of the Debtors. Just as the Debtors’ prepetition

agreement under the TSA not to sue the transferee of a fraudulent transfer under section 548

would not preclude an estate representative from exercising that avoiding power, the Debtors’

prepetition agreement that the proceeds of a fraudulent transfer recovery under section 548 will

be distributed in a specified fashion pursuant to the MYT Waterfall cannot bind the

representative of the Estates to which that post-petition cause of action belongs.

        Third, for the same reasons as above, the Estates would retain 50% of any net proceeds

from the MyTheresa Asset above approximately $700 million that otherwise would have been

received by NMG Parent on account of its ultimate ownership of the Common Stock in MYT

Holding.

        Fourth, as to the 50% of any net proceeds from the MyTheresa Asset in excess of

approximately $700 million that would be distributed under a plan to the 3L Noteholders, that

distribution would not be subject to the Turnover Provision. To begin with, by its terms, the

Turnover Provision applies only to funds, property, or value that the 3L Noteholders receive “on

account of” claims, causes of action, or litigation arising from the Distribution. The recoveries to

the 3L Noteholders described above would arise under a chapter 11 plan and would neither be on

account of, nor depend on, the outcome of any claims, causes of action, or litigation. Indeed, the

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distribution to the 3L Noteholders under a plan would be precisely the same whether or not a

lawsuit relating to the Distribution was ever even brought, let alone whether or not the

MyTheresa Asset (or the value thereof) was recovered.          Further, even if a non-litigation

dependent distribution under a plan were to be construed as a distribution on account of

litigation, the Turnover Provision would be void and unenforceable as a matter of law and public

policy because it would permit the architect and recipient of an intentional fraudulent transfer to

retain the benefit of such fraudulent transfer.

        Even if the Turnover Provision is applicable to the distribution to the 3L Noteholders

under a plan of the type outlined above and enforceable for the benefit of the fraudulent

transferee, there would be no value available under the Turnover Provision to distribute to NMG

Parent (or its designee) for the benefit of the Sponsors unless and until the net proceeds realized

from the MyTheresa Asset exceed $700 million plus accrued dividends on the Series A Preferred

Stock and the Series B Preferred Stock. Consistent with the MYT Waterfall, even if the

Turnover Provision applies and is enforceable, any value below that amount would flow to the

2L Noteholders (first $200 million) and the 3L Noteholders (next $250 million plus accrued

dividends on the Series A Preferred Stock) or would be retained by the estates (next $250 million

plus accrued dividends on the Series B Preferred Stock). Hence, any potential adverse economic

impact to the 3L Noteholders would be limited to, at most, 50% of the net distributable proceeds

from the MyTheresa Asset above $700 million plus accrued dividends.

        In light of the foregoing, avoiding the transfer of, and recovering, the MyTheresa Asset

(or the value thereof) will substantially benefit the Debtors’ estates and the unsecured creditors

generally. The equity value in, and ultimate control of, the MyTheresa Asset, which presently

resides in, and was essentially misappropriated by, NMG Parent and, ultimately, the Sponsors,

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would be recovered by the Debtors for the benefit of their estates and unsecured creditors. As a

result, the Debtors’ estates would effectively step into the shoes of NMG Parent with respect to

the MyTheresa Asset that is presently worth at least hundreds of millions of dollars.

        Alternatively, the estates could choose to recover on their direct claims for the value of

the MyTheresa Asset against the Sponsors as entities for whose benefit the transfer of the

MyTheresa Asset was made. To the extent that the estates obtain such a money judgment

against the Sponsors, any amounts collected on such judgment from the Sponsors directly

should not be subject to any obligations under or respecting the MYT Waterfall. The MyTheresa

Asset itself would remain under the control of the indirect wholly-owned subsidiary of NMG

Parent that currently owns it and NMG Parent would be required under the TSA to comply with

the MYT Waterfall as to any proceeds of the My Theresa Asset.

        Based on the foregoing, the Committee concludes that the Estates must seek to pursue

and recover the MyTheresa Asset (or the value thereof), which could potentially yield hundreds

of millions of dollars of value for the Estates.




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                        Exhibit A
                   Neiman Marcus Group, Inc.
          Pre-Transactions Summary Corporate Structure
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                        Exhibit B
                    Neiman Marcus Group, Inc.
          Post-Distribution Summary Corporate Structure
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                        Exhibit C
                   Neiman Marcus Group, Inc.
          Post-Recapitalization Corporate Structure Chart
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                        Exhibit D
              Neiman Marcus – Investment Snapshot
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                        Exhibit E
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                              Exhibit F
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